Case 20-50627-CTG   Doc 91-5   Filed 02/15/22   Page 1 of 85




    EXHIBIT E
        Case 20-50627-CTG    Doc 91-5     Filed 02/15/22   Page 2 of 85




t.
          IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT
                    IN AND FOR LEON COUNTY, FLORIDA


     OFFICE OF THE ATTORNEY GENERAL,              )
     DEPARTMENT OF LEGAL AFFAIRS                  )
     STATE OF FLORIDA                             ) CASE NO:   201.r-cA- - 2 ?J'I
                                              )
                           Plaintiff,         )
                                              )
           v.                                 )
                                              )
     EDUCATION MANAGEMENT CORPORATION;        )
     EDUCATION MANAGEMENT HOLDINGS, LLC; )
     EDUCATION MANAGEMENT HOLDINGS II         )
        LLC;                                  )
     EDUCATION MANAGEMENT LLC;                )
     EDUCATION MANAGEMENT II LLC;             )
     ARGOSY UNIVERSITY OF CALIFORNIA LLC;     )
     ARGOSY UNIVERSITY OF FLORIDA, INC.;      )
     ARGOSY EDUCATION GROUP, INC. (D/B/A      )
        ARGOSY UNIVERSITY, TAMPA);            )
     THE UNIVERSITY OF SARASOTA, INC.;        )
     THE ART INSTITUTE OF PITTSBURGH, LLC;    )
     THE ART INSTITUTE OF FORT LAUDERDALE, )
        INC.;                                 )
     THE ART INSTITUTE OF JACKSONVILLE, INC.; )
     THE ART INSTITUTES INTERNATIONAL II LLC; )
     ART INSTITUTE OF ORLANDO, INC.;          )
     THE ART INSTITUTE OF TAMPA, INC.;        )
     AIT RESTAURANT, INC.;                    )
     MIAMI INTERNATIONAL UNIVERSITY OF ART )
       & DESIGN, INC.;                            )
     SOUTH UNIVERSITY, LLC;                       )
     SOUTH UNIVERSITY OF FLORIDA, INC. (D/B/A     )
       SOUTH UNIVERSITY, ORLANDO, SOUTH           )
       UNIVERSITY, TAMPA, AND SOUTH               )
       UNIVERSITY, WEST PALM BEACH);              )
     BROWN MACKIE EDUCATION II, LLC;              )
     BROWN MACKIE COLLEGE- MIAMI., INC.;          )
     BROWN MACKIE COLLEGE - MIAMI NORTH           )
       LLC;                                       )
                                                  )
                            Defendants.           )
                                                  )
       Case 20-50627-CTG            Doc 91-5      Filed 02/15/22      Page 3 of 85




                                CONSENT JUDGMENT


       This Consent Judgment is entered into between Plaintiff, Office of the Attorney

General, Department of Legal Affairs, State of Florida (hereinafter referred to as the

"Attorney General" or "Department"), and defendants Education Management

Corporation; Education Management Holdings LLC; Education Management Holdings II

LLC; Education Management LLC; Education Management II LLC; Argosy University of

California LLC; Argosy University Of Florida, Inc.; Argosy Education Group, Inc. (d/b/a

Argosy University, Tampa); The University Of Sarasota, Inc.; The Art Institute Of

Pittsburgh, LLC; The Art Institute Of Fort Lauderdale, Inc.; The Art Institute Of

Jacksonville, Inc.; The Art Institutes International II, LLC; Art Institute Of Orlando, Inc.;

The Art Institute Of Tampa, Inc.; AIT Restaurant, Inc.; Miami International University of

Art & Design, Inc.; South University, LLC; South University Of Florida, Inc. (d/b/a South

University, Orlando; South University, Tampa; and South University, West Palm Beach);

Brown Mackie Education II, LLC; Brown Mackie College - Miami, Inc.; and Brown

Mackie College - Miami North LLC, including, except as otherwise provided herein, all of

their respective subsidiaries, affiliates, successors, and assigns (collectively, "EDMC" or

"Defendants," and, together with the Department, the "Parties").

       This Consent Judgment resolves the Department's concerns regarding EDMC's

compliance with the Florida Deceptive and Unfair Trade Practices Act, Chapter 50 I, Part

II (hereinafter referred to as "FDUTPA"), and particularly with respect to EDMC's

recruitment and enrollment practices relating to its post-secondary educational offering.




                                              2
           Case 20-50627-CTG           Doc 91-5      Filed 02/15/22      Page 4 of 85

1




                                        !:.     PARTIES

           1.      The State is acting as parens patriae through its Attorney General with its

    office located at 107 W. Gaines Street, Tallahassee, Florida 32399.

           2.      Education Management Corporation is a Pennsylvania corporation with

    corporate headquarters at Pittsburgh, Pennsylvania. Argosy University Of California LLC,

    a California limited liability company, South University, LLC, a Georgia limited liability

    company, Brown Mackie Education II LLC, a Delaware limited liability company, The Art

    Institutes International II LLC, a Pennsylvania limited liability company; Education

    Management Holdings LLC, a Delaware limited liability company; Education

    Management Holdings II LLC, a Delaware limited liability company; Education

    Management LLC, a Delaware limited liability company; Education Management II LLC,

    a Delaware limited liability company; Argosy University Of Florida, Inc., a Florida

    corporation; Argosy Education Group, Inc. (d/b/a Argosy University, Tampa), an Illinois

    corporation; The University Of Sarasota, Inc.; The Art Institute Of Pittsburgh, LLC, a

    Pennsylvania limited liability company; The Art Institute Of Fort Lauderdale, Inc., a

    Florida corporation; The Art Institute Of Jacksonville; Art Institute Of Orlando, Inc., a

    Florida corporation; The Art Institute Of Tampa, Inc., a Florida corporation; AIT

    Restaurant, Inc., a Florida corporation; Miami International University of Art & Design,

    Inc., a Florida corporation; South University Of Florida, Inc. (d/b/a South University,

    Orlando; South University, Tampa; and South University, West Palm Beach), a Florida

    corporation; Brown Mackie College, Miami, Inc., a Florida corporation; and Brown

    Mackie College, Miami North LLC, a Florida limited liability company, are

    wholly-owned, indirect subsidiaries of Education Management Corporation.



                                                 3
       Case 20-50627-CTG           Doc 91-5      Filed 02/15/22      Page 5 of 85




                II.    COORDINATION WITH OTHER ACTIONS
                   BY OTHER STATES ATTORNEYS GENERAL

       3.      The Parties acknowledge that this Consent Judgment is being filed

simultaneously with similar judgments in the States of Alabama, Arizona, Arkansas,

Colorado, Connecticut, Delaware, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas,

Kentucky, Louisiana, Maine, Maryland, Mississippi, Missouri, Montana, Nebraska, New

Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio, Oregon,

Pennsylvania, Rhode Island, South Dakota, Tennessee, Utah, Vermont, Virginia,

Washington, West Virginia, and Wyoming and the District of Columbia. The Parties

intend to coordinate implementation of the terms of this Consent Judgment with those

referenced above.

                                 III.    DEFINITIONS

        Whenever the terms listed below are used in this Consent Judgment, the following

definitions shall apply:

       4.      "Abusive Recruitment Methods" means the intentional exploitation of a

Prospective Student's fears, anxieties, or insecurities, or any method intentionally

calculated to place unreasonable pressure on a Student to enroll in an EDMC school.

        5.     "Administrator" shall have the meaning set forth in paragraphs 34 through

38 below.

        6.     "Admissions Representative" means any natural person employed by

EDMC who has substantial responsibility for encouraging Prospective Students to apply or

enroll in a Program of Study or recruiting Prospective Students, including, but not limited

to, assisting Prospective Students with the application process and informing Prospective

Students about Programs of Study at EDMC's schools, including but not limited to


                                             4
         Case 20-50627-CTG           Doc 91-5       Filed 02/15/22     Page 6 of 85




employees with job titles such as "student success advisors" and "admissions

representatives.

         7.        "Anticipated Total Direct Cost" means the estimated cost of tuition, fees,

books, supplies, and equipment to complete a Program of Study.

         8.        "Attorneys General" means the Attorneys General of Alabama, Arizona,

Arkansas, Colorado, Connecticut, Delaware, District of Columbia, Florida, Georgia,

Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland,

Mississippi, Missouri, Montana, Nebraska, New Jersey, New Mexico, New York, North

Carolina, North Dakota, Ohio, Oregon, Pennsylvania, Rhode Island, South Dakota,

Tennessee, Utah, Vermont, Virginia, Washington, West Virginia and Wyoming.

         9.        "CIP Code" means the six-digit U.S. Department of Education

Classification oflnstructional Program ("CIP") code identified for a particular Program of

Study.

         10.   "CIP to SOC Crosswalk" means the crosswalk developed by the National

Center for Educational Statistics and the Bureau of Labor Statistics relating CIP Codes to

Standard Occupational Classification ("SOC") codes and available at

http://nces.ed.gov/ipeds/cipcode/resources.aspx or its successor site.

         11.   "Clearly and Conspicuously" or "Clear and Conspicuous," when

referring to a statement or disclosure, means that such statement or disclosure is made in

such size, color, contrast, location, and duration that it is readily noticeable, readable, and

understandable. A statement may not contradict or be inconsistent with any other

information with which it is presented. If a statement modifies, explains, or clarifies other

information with which it is presented, it must be presented in proximity to the information



                                                5
       Case 20-50627-CTG            Doc 91-5        Filed 02/15/22      Page 7 of 85




it modifies, in a manner that is likely to be noticed, readable, and understandable, and it

must not be obscured in any manner.

       12.      "Completer," only for purposes of calculating a Job Placement Rate in

accordance with this Consent Judgment, means a Student who is no longer enrolled in a

Program of Study and who has either completed the time allowed or attempted the

maximum allowable number of credits for the Program of Study but who did not

accomplish the requirements for graduation, such as:

                (a)     achieving the necessary grade point average;

                (b)     attaining required competencies or speed skills; or,

                (c)     satisfying non-academic requirements, including but not limited to

       paying outstanding financial obligations.

        13.    "Core Skills" means skills that are necessary to receive a diploma or degree

in a Student's field of study, such that failure to master these skills will result in no diploma

or degree being awarded. "Core Skills" are specific to the Program of Study and are not

taught in general education courses or generally taught across all fields of study, and are

not the same as basic skills, which are skills that are necessary for success in a Student's

field of study, but which the Student should possess upon entry into a Program of Study.

Core Skills do not include generic skills such as "collaboration," "team work," and

"communication," and for bachelor's degree programs, Core Skills do not include skills

taught in 100-level courses unless the skill is refined and specifically identified in

upper-level courses.




                                                6
       Case 20-50627-CTG            Doc 91-5       Filed 02/15/22      Page 8 of 85




        14.    "Cost of Attendance" means cost of attendance as defined in the Federal

Higher Education Act of 1965, § 472, 20 U.S.C.A. § 108711, or as that statute may be

amended.

        15.    "Do Not Call Registry" means the national registry established by the

Federal Communications Commission and the Federal Trade Commission, and the state

registry established by the Florida Department of Agriculture and Consumer Services that

prohibits the initiation of outbound telephone calls, with certain statutory exemptions, to

registered consumers.

        16.    "Effective Date" means January 1, 2016.

        17.     "Electronic Financial Impact Platform" means an interactive,

internet-based program that produces a personalized disclosure for a Prospective Student

of the financial impact of pursuing a particular Program of Study and incurring a specific

amount of debt. The platform shall permit Prospective Students to input and/or adjust

fields to customize the resulting disclosure, including but not limited to the fields that

pertain to sources of funding (i.e., scholarships, grants, student contributions, federal loans,

and private loans) and post-graduation expenses, and shall generate a customized

disclosure for the Prospective Student that shows estimates of (a) the Prospective Student's

Anticipated Total Direct Costs in pursuing the Program of Study, (b) the Prospective

Student's Cost of Attendance, including each component thereof, (c) the Prospective

Student's total debt at the time of repayment and the corresponding monthly loan payments

over a term of years based on current interest rate information, (d) the Prospective

Student's income if he/she successfully graduates from the Program of Study, and (e) the

Prospective Student's post-graduation expenses, including personal financial obligations



                                               7
       Case 20-50627-CTG           Doc 91-5       Filed 02/15/22    Page 9 of 85




such as rent or mortgage payments, car payments, child care expenses, utilities, and the

like. The Electronic Financial Impact Platform shall also provide information about the

Program of Study, including Program Completion Rates, Median Debt for Completers, and

Program Cohort Default Rate.

       18.     "Enrollment Agreement" shall mean the document executed by a

Prospective Student that sets forth certain terms and conditions of the Prospective

Student's enrollment in a Program of Study.

       19.     "Executive Committee" shall refer to the Attorneys General of the States

of Connecticut, Illinois, Iowa, Kentucky, Oregon, and Pennsylvania.

       20.     "Former Employee" means any person who was employed by EDMC on

or after the Effective Date and who is no longer employed by EDMC.

       21.     "Good Cause" means: (a) a material and substantial breach of the terms of

this Consent Judgment by the Administrator, including the failure to comply with the terms

and limitations of this Consent Judgment, (b) any act of dishonesty, misappropriation,

embezzlement, intentional fraud, or similar conduct, (c) any intentional act of bias or

prejudice in favor or against either party or Students by the Administrator, or (d) conduct

by the Administrator that demonstrates unfitness to serve in any administrative capacity.

Good Cause shall not include disagreements with the decisions of the Administrator

pursuant to this Consent Judgment, unless there is a clear pattern in the Administrator's

decisions that demonstrates or shows that the Administrator has not been acting as an

independent third party in rendering decisions.

       22.     "Graduate," only for purposes of calculating a Job Placement Rate in

accordance with this Consent Judgment, means a Student who has accomplished all of the



                                              8
      Case 20-50627-CTG             Doc 91-5       Filed 02/15/22     Page 10 of 85




requirements of graduation from a Program of Study, such as, for example, achieving the

necessary grade point average, successfully passing all required courses and meeting all

clinical, internship, and extemship requirements, and satisfying all non-academic

requirements.

         23.    "Job Placement Rate" means the job placement rate calculated in

accordance with this Consent Judgment and is a numeric rate calculated by dividing the

total number of placed Graduate/Completers by the total number of Graduate/Completers

who do not qualify for exclusion from the calculation as set out below. EDMC shall count

a Graduate/Completer as placed or excluded for purposes of calculating a Job Placement

Rate in accordance with this Consent Judgment only where EDMC is able to successfully

contact a Graduate/Completer or employer to verify employment or exclusion and

possesses at the time it is calculating the Job Placement Rate the documentation required

below.

                (a)     For purposes of calculating the Job Placement Rate in accordance

         with this Consent Judgment, the Job Placement Rates shall be calculated from the

         total of Graduates/Completers between July 1, 20XX and June 30, 20XX, and shall

         be calculated for each Program of Study at the campus level.

                (b)     In calculating Job Placement Rates in accordance with this Consent

         Judgment, EDMC shall assess whether the Student has been placed within six (6)

         months of the later of (i) the end of the month in which the Student becomes a

         Graduate/Completer or (ii) if a license or certification is required for the relevant

         occupation, the date on which the results of the first licensing or certification exam

         for which the Graduate/Completer was eligible to sit become available; provided,



                                               9
Case 20-50627-CTG             Doc 91-5        Filed 02/15/22   Page 11 of 85




however, that such six (6) month period shall be extended for up to sixty (60) days

to permit Students who accepted employment prior to the expiration of such six (6)

month period to satisfy the minimum employment threshold set forth in paragraph

69(a)(5) and (a)(6), in which case the Graduate/Completer shall be excluded from

the current reporting cohort and included in the next reporting cohort.

       (c)     In calculating a Job Placement Rate in accordance with this Consent

Judgment, a Graduate/Completer may be excluded from the total number of

Graduates/Completers (i.e., the denominator) ifEDMC obtains written

documentation that the Graduate/Completer:

                       (i)       has a medical condition or disability that results in

               the Graduate/Completer's inability to work or the

               Graduate/Completer is not available for employment because the

               Graduate/Completer has a parent, child, or spouse who has a

               medical condition that requires the care of the Graduate/Completer;

                       (ii)      is engaged in full time active military duty;

                       (iii)     is enrolled at least half-time in an additional program

               of post-secondary education;

                       (iv)      is deceased;

                       (v)       is not eligible for placement in the United States

               because of visa restrictions;

                       (vi)      is a spouse or dependent of military personnel who

               have moved due to military transfer orders;

                       (vii)     is incarcerated; or



                                         10
      Case 20-50627-CTG           Doc 91-5        Filed 02/15/22    Page 12 of 85




                              (viii)   qualifies for any other job placement rate calculation

                      exclusion that the U.S. Department of Education adopts subsequent

                      to the Effective Date, unless the Attorneys General determine in

                      their reasonable judgment within thirty (30) days of being notified

                      by EDMC of the adoption of such waiver that recognizing the

                      waiver for purposes of calculating the Job Placement Rate would be

                      contrary to the interests of Prospective Students; provided, however,

                      that EDMC shall have the right to apply to the Court for a ruling as

                      to whether any such determination by the Attorneys General was

                      reasonable under the circumstances.

               (d)    Where EDMC excludes a Graduate/Completer from the total

       number of Graduate/Completers for the purposes of calculating the Job Placement

       Rate, EDMC shall not count that Graduate/Completer as "placed."

       24.     "Median Earnings for Completers" means the earnings calculated

according to the definitions and method provided by the U.S. Department of Education in

34 CFR 668.413(b)(8) and as that regulation may be amended or recodified.

       25.     "Median Debt for Completers" includes Title IV loans, institutional

loans, private loans, credit, or unpaid balances extended by or on behalf of the EDMC

school to Students, as provided in 34 CFR 668.404(d)(l). Median Debt for Completers is

the median debt for Students who completed the program during the most recent award

year and is determined according to the definitions and method provided in 34 CFR

668.4 l 3(b )(4) and as that regulation may be amended or recodified. Until such time as the

U.S. Department of Education commences calculation of the median debt according to



                                             11
      Case 20-50627-CTG            Doc 91-5         Filed 02/15/22    Page 13 of 85




such definitions and methodology, EDMC itself shall make a good faith effort to calculate

the Median Debt for Completers according to the definitions and methodology provided in

34 CFR 668.413(b)(4).

       26.     "Program Cohort Default Rate" means the program cohort default rate

determined according to 34 CFR 668.413(b)(13) and as that regulation may be amended or

recodified. Until such time as the U.S. Department of Education commences calculation of

the program cohort default rate as provided in 34 CFR 668.413(b)(13), EDMC shall make

a good faith effort to determine the Program Cohort Default Rate using the methodology

required by 34 CFR 668.413(b)(13).

       27.      "Program Completion Rate" means the program completion rate for

full-time Students calculated according to the definitions and method provided by the U.S.

Department of Education in 34 CFR 668.413 and as that regulation may be amended or

recodified. Until such time as the U.S. Department of Education commences calculation of

program completion rates according to such definitions and methodology, EDMC itself

shall make a good faith effort to calculate the Program Completion Rate for full-time

Students who complete the program within 150% of the length of the program according to

the definitions and methodology provided in 34 CFR 668.413.

       28.     "Program of Study" shall mean a series of courses, seminar, or other

educational program offered at an EDMC school in the United States, for which EDMC

charges tuition and/or fees, which is designed to lead toward a degree, certificate, diploma,

or other indication of completion, and which (a) is eligible for Title IV funding, (b)

involves more than 25 contact hours in a credit bearing course, (c) is designed to make a

Student eligible to sit for any state or national certification or licensing examination, or (d)



                                               12
      Case 20-50627-CTG            Doc 91-5         Filed 02/15/22    Page 14 of 85




is designed to prepare a Student for another series of courses, seminar, or other educational

program that is eligible for Title IV funding. Notwithstanding anything in the foregoing

sentence to the contrary, non-credit courses or programs offered for personal enrichment,

i.e., hobby courses, that are not Title-IV eligible, courses that are not taken for the purpose

of ultimately obtaining a degree, certificate, diploma, or other indication of completion,

and review courses that are designed to assist with a Student's preparation for a state or

national certification or licensing exam for which the Student is already eligible to sit, shall

not be Programs of Study.

        29.     "Prospective Student" means any natural person who is being recruited for

a Program of Study and/or pursuing enrollment at an EDMC school in a Program of Study.

        30.     "Student" means any natural person who is or was enrolled at an EDMC

school in a Program of Study.

        31.     "Student Financial Services Representative" means any natural person

employed by EDMC who has substantial responsibility for assisting or advising Students

and Prospective Students with respect to financial aid matters.

        32.     "Third-Party Lead Vendor" means any third-party vendor (whether a

person, corporation, partnership, or other type of entity) that is directly retained and

authorized by EDMC to provide Prospective Student inquiries to EDMC.

        33.     "Transferability of Credits Disclosure" means a disclosure with respect

to the transferability of credits earned at EDMC schools. For regionally accredited

schools, each such disclosure shall state: "Course credits are not guaranteed to transfer to

other schools." For all other schools, each such disclosure shall state: "Course credits will

likely not transfer to other schools. Degrees will likely not be honored by other schools."



                                               13
      Case 20-50627-CTG           Doc 91-5       Filed 02/15/22    Page 15 of 85




EDMC shall be permitted to make such reasonable changes to the Transferability of

Credits Disclosure that are approved by the Administrator in consultation with the

Attorneys General.

                            IV.    ENJOINED CONDUCT

       Pursuant to the statutory authority set forth under the FDUTPA and Section

501.207, Florida Statutes, EDMC is hereby enjoined as follows:

                          ADMINISTRATOR PROVISIONS

Appointment of an Administrator

       34.     Thomas J. Perrelli, Esq. is appointed as the Administrator to oversee

EDMC's compliance with the provisions of this Consent Judgment, effective as of the

Effective Date. The Administrator may act directly or through staff, agents, employees,

contractors, and representatives in overseeing EDMC's compliance with the terms of this

Consent Judgment.

       35.     Within sixty (60) days of the Effective Date, the Attorneys General,

EDMC, and the Administrator shall agree on a proposed work plan and contract that shall

include all reasonable and necessary costs of the Administrator. If the Administrator, the

Attorneys General, and EDMC fail to reach agreement within that time, the Attorneys

General shall determine a fair and reasonable work plan and contract in consultation with

EDMC and the Administrator.

       36.     In the event of any dispute arising over the Administrator's performance or

the reasonableness of the Administrator's costs and fees, either EDMC or the Attorneys

General may request that the issue be submitted to the Iowa Attorney General, with the

issue to be resolved in accordance with the provisions ofEDMC's consent judgment with

the State of Iowa.

                                            14
       Case 20-50627-CTG           Doc 91-5        Filed 02/15/22    Page 16 of 85




       37.     The Administrator may be dismissed for any reason by agreement of the

Parties. In the event the Parties do not agree to the dismissal of the Administrator, either

the Attorneys General or EDMC may submit the question of the Administrator's dismissal

to the Iowa Attorney General, with the issue to be resolved in accordance with the

provisions of EDMC's consent judgment with the State of Iowa.

       38.     The Administrator shall be appointed for a term of three (3) years, to run

from the Effective Date. If the Administrator is dismissed or leaves the position for any

reason before the end of the term, another Administrator shall be appointed by agreement

ofEDMC and the Attorneys General to serve the remainder of the term.

Costs of the Administrator

        39.    EDMC shall pay the reasonable and necessary fees and costs of the

Administrator. Reasonable and necessary fees and costs shall be limited to those set out in

the Administrator's contract, but in no event shall the Administrator's fees exceed

$1,000,000.00 per year.

Powers and Duties of the Administrator

        40.    The Administrator shall independently review EDMC's compliance with

the terms of this Consent Judgment in accordance with the work plan referenced in

paragraph 35. In furtherance of this purpose, and without limiting the power of the

Administrator to review any relevant matter within the scope of this Consent Judgment, the

Administrator shall be permitted to:

                (a)    observe Admissions Representative and Student Financial Services

        Representative training sessions;

                (b)    monitor telephone calls and meetings between Admissions

        Representatives or Student Financial Services Representatives, on the one hand,

                                              15
Case 20-50627-CTG          Doc 91-5        Filed 02/15/22    Page 17 of 85




and Students or Prospective Students, on the other; the Administrator shall not be

permitted to participate in such calls or attend such meetings, but it is expressly

understood that the Administrator may utilize "mystery shoppers"; a "mystery

shopper" is a person hired to pose as a Prospective Student and collect information

regarding an Admissions Representative's or Student Financial Service

Representative's compliance with this Consent Judgment;

       (c)     review transcripts, recordings, and/or reports related to any

telephone call or meeting with Prospective Students;

        (d)    review materials used to train Admissions Representatives and

Student Financial Services Representatives;

        (e)    review complaints made to EDMC, its accreditors, the Attorneys

General, the Better Business Bureau, or any state or federal governmental body,

after the Effective Date of this Consent Judgment, which potentially concern or

relate to any of EDMC's recruitment, admissions, Student financial aid, or career

services practices;

        (f)    receive and review complaints concerning EDMC referred by the

United States of America, acting through the United States Department of Justice

and on behalf of the U.S. Department of Education (collectively, for purposes of

this subparagraph and paragraph 50, the "United States"), the States of California,

Florida, Illinois, Indiana, and Minnesota (collectively, the "Intervened States"), and

the Commonwealth of Massachusetts, the District of Columbia, and the States of

Kentucky, Montana, New Jersey, New Mexico, New York, and Tennessee

(collectively, the "Non-Intervened States");



                                      16
Case 20-50627-CTG          Doc 91-5        Filed 02/15/22     Page 18 of 85




       (g)     review EDMC's advertisements, marketing materials, websites,

catalogs, enrollment agreements, disclosures, and other public-facing media to

verify compliance with this Consent Judgment;

       (h)     review documents, data, and information related to EDMC's

calculation of any job placement rate;

       (i)     monitor EDMC's compliance practices with respect to the conduct

of Third-Party Lead Vendors;

       (j)     review documents in the possession of EDMC or reasonably

accessible to EDMC related to the conduct of Third-Party Lead Vendors;

       (k)     review communications with Students and Prospective Students in

the possession of EDMC or reasonably accessible to EDMC related to Student

recruitment, admissions, financial aid, or career services;

       (1)     monitor EDMC's compliance with its refund policy;

       (m)     monitor EDMC's compliance with data reporting requirements

imposed by this Consent Judgment;

       (n)     monitor EDMC's complaint resolution practices;

       (o)     review reports related to EDMC's audit of Third-Party Lead

Vendors;

       (p)     review EDMC's institutional and programmatic accreditation status

to verify compliance with this Consent Judgment;

       (q)     review EDMC's records to verify EDMC's compliance with its

obligation to forgo efforts to collect outstanding debt from certain Students

pursuant to paragraphs 120 and 121 of this Consent Judgment;



                                      17
      Case 20-50627-CTG           Doc 91-5        Filed 02/15/22   Page 19 of 85




               (r)    have reasonable access to books, records, other documents, and staff

       sufficient to insure implementation of and compliance with this Consent Judgment;

       and

               (s)    have reasonable access to employees and Former Employees of

       EDMC as the Administrator deems necessary to insure implementation of and

       compliance with this Consent Judgment; reasonable access for purposes of this

       subparagraph includes disclosing the identity of any current employee or Former

       Employee if the identity is requested by the Administrator and can be determined

       by EDMC; reasonable access to current employees shall include providing

       appropriate times and locations for staff interviews; and reasonable access to

       Former Employees shall include providing the most recent contact information

       available;

provided, however, that this Consent Judgment shall not effectuate a waiver of the

attorney-client privilege or the attorney-work-product doctrine, and the Administrator shall

not have the right to demand access to documents or information protected by the

attorney-client privilege or the attorney-work-product doctrine.

       41.     The Administrator shall make a good faith effort to leverage EDMC's

existing compliance mechanisms when reviewing EDMC's compliance with this Consent

Judgment.

       42.     The Administrator shall make a good faith effort to perform his or her duties

in a manner designed to cause minimal disruption to EDMC's activities. In this regard,

EDMC shall designate senior officials within the Office of the Chief Compliance Officer

(or any office subsequently organized to succeed to the duties of the foregoing office) to



                                             18
       Case 20-50627-CTG           Doc 91-5        Filed 02/15/22    Page 20 of 85




serve as the primary points of contact for the Administrator in order to facilitate the

Administrator's access to documents, materials, or staff necessary to review EDMC's

compliance with this Consent Judgment. The Administrator shall communicate any

request for documents, materials, or access to staff to the designated contacts, unless

otherwise instructed. For the avoidance of doubt, nothing in this paragraph shall be

interpreted to prohibit the Administrator from speaking with a current or Former Employee

ofEDMC.

       43.     If at any time the Administrator believes that there is undue delay,

resistance, interference, limitation, or denial of access to any records or to any employee or

Former Employee deemed necessary by the Administrator to implement or review

compliance with this Consent Judgment, the Administrator may meet and confer with the

designated EDMC officials referenced in paragraph 42. If the Administrator cannot

resolve such limitation or denial, it shall be immediately reported to the Attorneys General.

        44.    Nothing in this Consent Judgment shall limit the ability of the

Administrator to communicate at any time with the Attorneys General regarding EDMC's

conduct or to provide documents or information to the Attorneys General.

Oversight and Compliance

        45.    The Administrator and the designated EDMC officials referenced in

paragraph 42 shall meet on a quarterly basis, or more frequently if the Administrator deems

reasonably necessary, in order to discuss any facts, matters, issues, or concerns that may

arise in the administration of this Consent Judgment or that may come to the attention of

the Administrator. The purpose of these meetings is to permit EDMC to confer with the

Administrator and address issues and concerns as they arise. In addition, the Administrator



                                              19
       Case 20-50627-CTG           Doc 91-5       Filed 02/15/22    Page 21 of 85




may in his discretion and on reasonable advance notice invite the EDMC officials

referenced in paragraph 42 and the Attorneys General to meet and confer to the extent he

deems it reasonably necessary for the administration of this Consent Judgment.

       46.      The Administrator shall issue a report (hereinafter "Annual Report") to the

Attorneys General and to EDMC within nine (9) months after the Effective Date and every

twelve (12) months thereafter for the duration of the Administrator's term. The

Administrator may make more frequent reports as deemed reasonably necessary or upon

request of the Attorneys General. All written reports requested by the Attorneys General

shall be provided to EDMC prior to their presentation to the Attorneys General. The

Administrator and EDMC shall meet and confer to discuss all written reports and Annual

Reports prior to their presentation to the Attorneys General. As part of this conferral

process, the Administrator shall in good faith consider all reasonable modifications to the

report proposed by EDMC. Upon request, the Attorneys General shall be granted access to

the draft reports.

        47.     The Annual Report shall include:

                (a)    a description of the methodology and review procedures used;

                (b)    an evaluation of whether EDMC is in compliance with the

        provisions of this Consent Judgment, together with a description of the underlying

        basis for that evaluation; and

                (c)    a description of any practice which the Administrator believes may

        constitute a deceptive or unfair practice (as those terms are commonly understood

        in the context of consumer protection laws).




                                             20
      Case 20-50627-CTG           Doc 91-5        Filed 02/15/22    Page 22 of 85




       48.     The Administrator's reports (including the Annual Reports) shall identify

only practices or patterns of noncompliance by EDMC, if any, and are not intended to

identify isolated incidents, unless the Administrator determines that such incidents are

indicative of EDMC's substantial non-compliance with the Consent Judgment.

       49.     If, at the conclusion of the Administrator's three-year term, the Attorneys

General determine in good faith and in consultation with the Administrator that justifiable

cause exists, the Administrator's engagement shall be extended for an additional term of up

to two (2) years, subject to the right ofEDMC to commence legal proceedings for the

purpose of challenging the decision of the Attorneys General and to seek preliminary and

permanent injunctive relief with respect thereto. For purposes of this paragraph,

"justifiable cause" means a failure by EDMC to achieve and maintain substantial

compliance with the substantive provisions of the Consent Judgment.

Use of the Administrator's Reports

       50.     The Administrator's reports (including the Annual Reports) and testimony

may be used by the Attorneys General or EDMC in any action or proceeding relating (a) to

this Consent Judgment or (b) to any EDMC conduct reported by the Administrator to the

Attorneys General, and the reports shall be admissible into evidence in any such action or

proceeding. In addition, the United States, the Intervened States, and the Non-Intervened

States shall have whatever rights to receive and/or use reports or other information

provided by the Administrator to the Attorneys General that may be created in any

settlement agreement that is subsequently executed by and between the United States, the

Intervened States, and the Non-Intervened States and EDMC. For the avoidance of doubt,

the Parties do not intend for the Administrator's reports (including the Annual Reports) to

be admissible in any action or proceeding other than an action or proceeding described in

                                             21
       Case 20-50627-CTG           Doc 91-5        Filed 02/15/22     Page 23 of 85




the preceding sentences. No action or lack of action by the Attorneys General regarding

information received from the Administrator regarding EDMC's conduct shall be

considered affirmation, acceptance, or ratification of that conduct by the Attorneys

General, and the Attorneys General reserve the right to act at any time regarding

information provided to them by the Administrator.

Confidentiality

       51.     The Administrator shall keep confidential any information, documents, and

reports obtained or produced in the course of the Administrator's duties from any and all

individuals, entities, regulators, government officials, or any other third party that is not a

party to this Consent Judgment. Nothing in the preceding sentence shall limit the ability of

the Administrator to make any disclosure compelled by law.

       52.     It is understood that any document, information, or report shared with the

Attorneys General pursuant to this Consent Judgment (including reports created by the

Administrator pursuant to paragraphs 46 and 116) is subject to Chapter 119, Florida

Statutes. Nevertheless, the Attorneys General recognize that some or all of such

documents, information, or reports may be confidential and/or exempt from disclosure

pursuant to§ 119.071, Florida Statutes, or other applicable state or federal Jaws. In the

event that the Attorneys General (or any of them) receive a request to disclose a document,

information, or report, and the Attorneys General (or any of them) determine that the

requested document, information, or report is not confidential pursuant to applicable law

and is subject to disclosure, or if the Attorneys General (or any of them) are compelled to

produce the material pursuant to a court or administrative order, the relevant Attorney(s)

General shall provide notice to EDMC ten (10) business days prior to disclosing the

document, information, or report to any third party, or any lesser period required under
                                              22
       Case 20-50627-CTG          Doc 91-5        Filed 02/15/22    Page 24 of 85




state law. Notwithstanding the above requirements, the Attorneys General may share any

document, information, or report subject to this paragraph with any other local, state, or

federal agency empowered to investigate or prosecute any laws, regulations, or rules.

Subject to the foregoing, unless required under applicable state law, the Attorneys General

shall not release to the public any confidential document or information provided by

EDMC pursuant to this Consent Judgment.

       53.     The Administrator shall create a summary public version of each Annual

Report created pursuant to paragraph 46 of this Consent Judgment. The summary public

version of each Annual Report shall exclude all information that the Administrator

determines, in consultation with EDMC, to be the proprietary information of EDMC.

Miscellaneous Administrator Provisions

       54.     Non Retaliation Clause: EDMC shall not intimidate, harass, threaten, or

penalize any employee or Former Employee for his or her cooperation with or assistance to

the Administrator relating to the Administrator's Powers and Duties to ensure

implementation of and compliance with this Consent Judgment.

        55.    Compliance Hotline: It is understood that EDMC is operating a compliance

hotline, which permits employees to lodge concerns with EDMC anonymously. EDMC

shall continue to maintain this hotline or a reasonable equivalent. EDMC shall provide the

Administrator access to any complaints or reports made through this hotline (whether

made anonymously or not).

                              REQUIRED DISCLOSURES

General Disclosures

        56.    Before obtaining signed Enrollment Agreements, EDMC shall Clearly and

Conspicuously disclose to Prospective Students a "Single-Page Disclosure Sheet" that

                                             23
      Case 20-50627-CTG            Doc 91-5       Filed 02/15/22     Page 25 of 85




conforms as to form to the sample disclosure sheet attached as Exhibit B hereto and

contains the following information:

                 (a)    the Anticipated Total Direct Cost for the Program of Study at the

       prospective campus; provided, however, that this provision shall not be interpreted

       to restrict EDMC's ability to change tuition, fees, or expenses;

                 (b)    the Median Debt for Completers for the Program of Study for the

       most recent reporting period;

                 (c)    the Program Cohort Default Rate for the most recent reporting

       period;

                 (d)    the Program Completion Rate for the most recent reporting period;

                 (e)    the Transferability of Credits Disclosure;

                 (f)    the Median Earnings for Completers for the Program of Study for

       the most recent reporting period, if available; and

                 (g)    the Job Placement Rate Disclosure for the Program of Study at the

       prospective campus for the most recent reporting period, if available.

       57.       Specifically, EDMC shall Clearly and Conspicuously disclose the

Single-Page Disclosure Sheet for the Program of Study in which the Prospective Student is

seeking to enroll prior to a Prospective Student's execution of the Enrollment Agreement

in the following ways: (1) by Clearly and Conspicuously disclosing the Single-Page

Disclosure Sheet during the application process, prior to the Prospective Student's

submission of a completed application; and (2) by Clearly and Conspicuously disclosing

and discussing with the Prospective Student the Single-Page Disclosure Sheet when a

representative of an EDMC school reviews or discusses with a Prospective Student a



                                             24
      Case 20-50627-CTG           Doc 91-5       Filed 02/15/22    Page 26 of 85




completed FAFSA and/or financial plan. When the requirements of subparagraphs (1)

and/or (2) are performed at an in-person meeting with the Prospective Student, in addition

to any other method of Clear and Conspicuous disclosure, EDMC shall also provide the

Prospective Student with a printed copy of the Single-Page Disclosure Sheet; provided,

however, that EDMC shall not be required to provide multiple printed copies of the

Single-Page Disclosure Sheet to a Prospective Student who attends more than one

in-person meeting. Additionally, except where the Prospective Student has not provided

EDMC with an email address, EDMC shall also email the Single-Page Disclosure Sheet to

the Prospective Student prior to the execution of the Enrollment Agreement.

       58.     Before an already-enrolled Student begins a new Program of Study, EDMC

shall Clearly and Conspicuously disclose to the Student the Single-Page Disclosure Sheet

for that Program of Study. Additionally, except where the Student has not provided

EDMC with an email address, EDMC shall also email the Single-Page Disclosure Sheet to

the Student prior to that Student enrolling in the new Program of Study.

       59.     EDMC shall be permitted to make such reasonable changes to the

Single-Page Disclosure Sheet and to the form and timing of the disclosure of the

Single-Page Disclosure Sheet as are approved by the Administrator in consultation with

the Attorneys General.

       60.     EDMC may calculate and disclose to Students and Prospective Students, in

materials other than the Single-Page Disclosure Sheet, information with respect to the

income earned by EDMC' s graduates in reporting periods as to which the Median Earnings

for Completers is not available, provided that such information is not false, misleading, or

deceptive.



                                            25
       Case 20-50627-CTG           Doc 91-5        Filed 02/15/22     Page 27 of 85




        61.     If an EDMC school elects to disclose that it has articulation agreements for

the transferal of credits to other schools, then, in addition to the foregoing, the EDMC

school shall also Clearly and Conspicuously: (a) list any school(s) with articulation

agreements with that EDMC school, (b) list the classes for which the receiving school

allows credits to transfer, (c) disclose any conditions upon the acceptance of transferred

credits, and (d) disclose that credits are accepted by the receiving school for elective credit

only, if that is the case.

Job Placement Rate Disclosures

        62.     For any Program of Study at an EDMC school that is required to calculate

or provide a job placement rate by any accreditor or any federal, state, or local law, rule, or

judgment, EDMC shall calculate a Job Placement Rate for such Program of Study in

accordance with this Consent Judgment, and such rate shall be disclosed on the

Single-Page Disclosure Sheet described in paragraph 56. If an EDMC school voluntarily

calculates a job placement rate for any Program of Study offered at an EDMC campus, it

must calculate the Job Placement Rate in accordance with this Consent Judgment for that

Program of Study and also calculate a Job Placement Rate in accordance with this Consent

Judgment for all Programs of Study that are offered at that same EDMC campus, and such

rates shall be disclosed on the Single-Page Disclosure Sheet described in paragraph 56.

For purposes of this paragraph, all online offerings of each one ofEDMC's schools shall be

considered a "campus." Notwithstanding the foregoing, EDMC shall not be required to

calculate Job Placement Rates for (a) any Program of Study that EDMC is teaching out

(i.e., that is not accepting new Students) or (b) Graduates/Completers of Western State

College of Law.

        63.      IfEDMC does not calculate a job placement rate for a Program of Study,

                                              26
      Case 20-50627-CTG           Doc 91-5       Filed 02/15/22    Page 28 of 85




and it is not required to calculate a Job Placement Rate by this Consent Judgment, then

EDMC shall disclose to Prospective Students on the Single Page Disclosure Sheet that:

"[EDMC school] does not calculate a job placement rate for students who completed this

program."

       64.     EDMC shall not make any claims or representations to Prospective

Students about the likelihood of such Prospective Students obtaining employment after

completing a Program of Study if it does not calculate and disclose a Job Placement Rate in

accordance with this Consent Judgment.

       65.     The Job Placement Rate calculated in accordance with this Consent

Judgment shall be disclosed on the U.S. Department of Education's Gainful Employment

Program Disclosure Template, which is the disclosure form issued by the Secretary of the

U.S. Department of Education for Gainful Employment Programs, as well as at the time(s)

and in the manner(s) provided herein. Moreover, with respect to job placement rates that

EDMC calculates after the Effective Date, EDMC shall not report and/or disclose any job

placement rate other than the Job Placement Rate calculated in accordance with this

Consent Judgment, except as permitted by paragraph 69(e) or as may be required by a

government entity or accreditor. EDMC must comply with any state regulations in

addition to the requirements of this Consent Judgment.

       66.     Notwithstanding anything to the contrary in this Consent Judgment, EDMC

shall not be required to disclose a Program Completion Rate, a Program Cohort Default

Rate, a Median Debt for Completers, or a Job Placement Rate for any Program of Study at

a location with fewer than ten (10) Students or Graduates/Completers, as applicable, in that

program.



                                            27
      Case 20-50627-CTG           Doc 91-5         Filed 02/15/22     Page 29 of 85




       67.     Notwithstanding anything to the contrary in this Consent Judgment, EDMC

shall not be required to calculate a Job Placement Rate for new Programs of Study that

have not had any Completers or Graduates. A Program of Study is not "new" for purposes

of this paragraph ifthe same campus at which the Program of Study is offered previously

offered a program of substantially similar subject matter, content, length, and ending

credential. For the avoidance of doubt, a Program of Study will be "new" for purposes of

Job Placement Rate calculations if any governmental entity or any relevant accreditor

considers the Program of Study substantially different from a prior Program of Study in

terms of subject matter, content, length, or ending credential.

       68.     lfEDMC relies on a third party for verifying and/or calculating Job

Placement Rates, EDMC shall enter into a contract with such third party pursuant to which

the third party shall agree to adhere to the requirements of this Consent Judgment

concerning calculation and/or verification of Job Placement Rates (to the extent

applicable) and require the third party to provide any requested information regarding the

calculation and/or verification of Job Placement Rates to the Administrator. EDMC shall

monitor such third party's compliance with these requirements.

       69.     EDMC shall deem an individual as "placed" only if the Graduate or

Completer meets the below conditions of "employed" or "self-employed."

               (a)     Employed. The individual shall be deemed "employed" if each of

       the following six (6) requirements are met:

                       ( 1)    The position is in the field of study or a related field of study.

               The position shall be considered to be in the field of study or a related field

               of study if it meets one of the following criteria:



                                              28
     Case 20-50627-CTG         Doc 91-5      Filed 02/15/22      Page 30 of 85

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                       (i)       the position is included on the list of job titles for the

                Graduate's/Completer's Program of Study published by the school

                and is included in the most recent CIP to SOC Crosswalk for the

                applicable CIP Code; provided, however, that it is understood that in

                an instance where a Graduate/Completer's actual job title is not

                listed on the CIP to SOC Crosswalk, EDMC may include the job as

                a placement under this provision if the job title the

                Graduate/Completer obtained is listed as a "Lay Title" on the O*Net

                Code Connector for an SOC job title that is linked to the

                Graduate/Completer's Program CIP per the CIP to SOC Crosswalk,

                regardless of any job level within the Graduate/Completer's title

                (e.g., Registered Nurse 1, Registered Nurse 2, etc.), and the job

                description by the employer for the job title the Graduate/Completer

                obtained predominantly matches the job description, tasks, and

                work activities for the SOC job title that is linked to the CIP for the

                Graduate/Completer's program; or

                        (ii)     the position requires the Graduate/Completer to use,

                during a majority of the time while at work, the Core Skills listed in

                the school's published program and course descriptions expected to

                have been taught in the Student's program; and (x) the written job

                description requires education beyond a high school diploma or

                provides that a postsecondary credential is preferred, (y) the

                position is one as a supervisor or manager, or (z) the



                                        29
Case 20-50627-CTG         Doc 91-5        Filed 02/15/22      Page 31 of 85




               Graduate/Completer or the employer certifies in writing that the

               education received by the Graduate/Completer provided a benefit or

               advantage to the Graduate/Completer in obtaining the position.

               (2)    The position is a permanent position (i.e., there is no planned

       end date) or a temporary position that the Graduate/Completer expects to

       maintain for a minimum of one hundred and eighty (180) days;

               (3)    The position is a paid position;

               (4)    The position requires at least twenty (20) work hours per

       week;

               (5)    The Graduate/Completer has worked in the position for a

       minimum of thirty (30) days; and

               (6)    EDMC has verified the employment after the

       Graduate/Completer has worked in the position for a minimum of thirty

       (30) days by: (i) speaking to either the employer or an agent of the

       employer to confirm employment, (ii) contacting the Graduate/Completer

       directly, (iii) receiving an email from the Graduate/Completer, or (iv) the

       Graduate/Completer's employer provides employment information about

       the Graduate/Completer by email or other written confirmation, or on-line.

       (b)     Self-Employed. The individual shall be deemed placed as

"self-employed" if each of the following four (4) requirements is met:

               (1)    The position is in the field of study or a related field of study.

       The position shall be considered to be in the field of study or a related field

       of study if it meets one of the following criteria:



                                     30
     Case 20-50627-CTG         Doc 91-5      Filed 02/15/22      Page 32 of 85

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                       (i)       the position is included on the list of job titles for the

                Graduate's/Completer's Program of Study published by the school

                and is included in the most recent CIP to SOC Crosswalk for the

                applicable CIP Code; provided, however, that it is understood that in

                an instance where a Graduate/Completer's actual job title is not

                listed on the CIP to SOC Crosswalk, EDMC may include the job as

                a placement under this provision if the job title the

                Graduate/Completer obtained is listed as a "Lay Title" on the O*Net

                Code Connector for an SOC job title that is linked to the

                Graduate/Completer's Program CIP per the CIP to SOC Crosswalk

                and the job description by the employer for the job title the

                Graduate/Completer obtained matches the job description, tasks,

                and work activities for the SOC job title that is linked to the CIP for

                the Graduate/Completer's program; or

                        (ii)     the position requires the Graduate/Completer to use,

                during a majority of the time while at work, the Core Skills listed in

                the school's published program and course descriptions expected to

                have been taught in the Student's program; and the

                Graduate/Completer certifies in writing that the education received

                by the Graduate/Completer provided a benefit or advantage to the

                Graduate/Completer in performing the tasks entailed in such

                self-employment;




                                        31
        Case 20-50627-CTG         Doc 91-5       Filed 02/15/22    Page 33 of 85

.   "


                      (2)    The Graduate/Completer has received some compensation

              in return for services provided in connection with the self-employment;

                      (3)    In the case of grant-funded or similar employment, the

              position is anticipated to employ the Graduate/Completer for a period of no

              less than three (3) months; and

                      (4)    EDMC has verified the self-employment and the

              Graduate/Completer has either (a) completed at least 135 hours of work

              (including, for example, time devoted to marketing or other unpaid

              preparatory or developmental work) in connection with the

              Graduate/Completer's self-employment or (b) received no less than

              $4,500.00 in compensation, over a period of no more than ninety (90) days,

              in return for services provided in connection with the self-employment,

              provided that EDMC has obtained written verification directly from the

              Graduate/Completer that includes: (i) an attestation that s/he is

               self-employed with a description of the nature of the self-employment and

               (ii) the number of hours worked and/or amount of compensation earned.

               (c)    Federal Work/Study positions at EDMC or any affiliated school

        shall not be counted as "employment" or "self-employment."

               (d)    Continuing Employment.

                      (1)     Graduates/Completers continuing employment in a position

               that was held prior to enrolling in the Program of Study shall not be deemed

               "placed" unless:




                                            32
Case 20-50627-CTG            Doc 91-5     Filed 02/15/22    Page 34 of 85




                      (i)      the requirements of subsections (a)(l) through (a)(6)

               of this paragraph are met; and

                      (ii)     completing the Program of Study enabled the

               Graduate/Completer to maintain the position, or the

               Graduate/Completer earned a promotion or an increase in pay as a

               result of completing the Program of Study.

               (2)    If a Graduate/Completer continuing in a pre-enrollment

       position enrolled in the Program of Study pursuant to an "established

       employer educational assistance program," and the conditions of subsection

       (d)( 1)(ii) of this paragraph are not satisfied, then the Graduate/Completer

       shall be excluded from the Job Placement Rate calculation. (The term

       "established employer educational assistance program" shall mean a

       program evidenced in writing in which an employer pays 50% or more of

       the cost of tuition for its employee to attend a Program of Study to gain

       skills related to the employee's current position with the employer.)

       (e)     EDMC's first calculation of the Job Placement Rate in accordance

with the provisions of this Consent Judgment will be for the cohort of Graduates

and Completers from July 1, 2015 through June 30, 2016. EDMC has represented

that prior to the execution of this Consent Judgment it collected job placement

information for some or all of the Graduates/Completers in the July 1, 2013 through

June 30, 2014 and July 1, 2014 through June 30, 2015 cohorts (for purposes of this

subparagraph, the "Interim Cohorts"). It is understood that any job placement rate

calculation made by EDMC with respect to the Interim Cohorts shall comply with



                                     33
      Case 20-50627-CTG            Doc 91-5       Filed 02/15/22     Page 35 of 85




       the conditions and limitations provided in paragraph 23(c) and (d), except for job

       placement rates required by a government entity or accreditor. Additionally,

       whenever disclosing a job placement rate with respect to the Interim Cohorts that

       was calculated pursuant to EDMC's own methodology, EDMC shall Clearly and

       Conspicuously disclose, if applicable, that the rate calculated pursuant to EDMC's

       methodology includes as placements employment positions that

       Graduates/Completers had obtained prior to enrolling in the Program of

       Study. EDMC shall not calculate and disclose any job placement rates with respect

       to the Interim Cohorts except in accordance with this subparagraph or as may be

       required by any accreditor or government entity.

       70.     EDMC shall implement a protocol for performance checks of those

employees responsible for verifying, calculating, and/or disclosing job placement rates.

Such performance checks shall be designed to provide a reliable assessment of the

accuracy of disclosed job placement rates and compliance by EDMC's employees, agents,

and/or contractors with the verification, calculation, and disclosure of job placement rates.

The performance checks shall be carried out regularly by EDMC's compliance department

or an independent third party, if used. If the school obtains placement data by contacting

employers and Completer/Graduates, the information should be documented in writing,

including, to the extent practicable, the name of the employer, name of the Student, address

and telephone number of Student and employer, title of employment, duties of

employment, length of employment, hours worked, the name and title of the person(s)

providing the information to EDMC, the name and title of the person(s) at EDMC who




                                             34
      Case 20-50627-CTG           Doc 91-5        Filed 02/15/22    Page 36 of 85




received and recorded the information, and the date the information was provided. EDMC

shall maintain a copy of the above information for a period no less than three (3) years.

Electronic Financial Impact Platform Disclosures

       71.     Prior to enrolling in a Program of Study, a Prospective Student must

generate a personalized disclosure using the Electronic Financial Impact Platform;

provided, however, that Prospective Students who are ineligible for federal student aid or

who are not borrowing funds to finance their education shall be exempt from this

requirement. For the avoidance of doubt, in the event that a Student chooses to revisit the

Electronic Financial Impact Platform after enrolling in a Program of Study, EDMC shall

not have any additional obligations to that Student under this paragraph.

       72.     EDMC shall undertake reasonable efforts to provide feedback to the

Consumer Financial Protection Bureau ("CFPB") with regard to any preliminary versions

of the Electronic Financial Impact Platform that the CFPB presents to EDMC. Once the

CFPB has provided a ready-to-implement version of its Electronic Financial Impact

Platform to EDMC, EDMC shall have sixty (60) days to determine whether it will use the

CFPB' s Electronic Financial Impact Platform.

       73.     IfEDMC determines not to use an Electronic Financial Impact Platform

that is developed by the Consumer Financial Protection Bureau, EDMC and the

Administrator, in consultation with the Attorneys General, shall work in good faith to

establish the content, operation, and presentation of the Electronic Financial Impact

Platform and the form of the disclosure required by paragraph 71, and EDMC must

thereafter present any material changes to the content, operation, or presentation of the

Electronic Financial Impact Platform to the Administrator, in consultation with the

Attorneys General, for approval prior to use.
                                             35
      Case 20-50627-CTG           Doc 91-5        Filed 02/15/22     Page 37 of 85




   MISREPRESENTATIONS, PROHIBITIONS, AND REQUIRED CONDUCT

       74.     In connection with the recruitment of any Prospective Students, Defendants

are prohibited from:

               (a)     making any false, deceptive, or misleading statements;

               (b)     omitting any material fact;

               (c)     engaging in unfair practices (as that term is commonly understood

       in the context of consumer protection laws);

               (d)     using any Abusive Recruitment Methods to persuade a Student to

       enroll or remain enrolled at an EDMC school; and

               (e)     making any representation inconsistent with required Disclosures of

       the U.S. Department of Education found in Title 34 of the Code of Federal

       Regulations Chapter 668 as such regulations may be amended or recodified.

       75.     In connection with any communication with Students or Prospective

Students, Defendants shall not:

               (a)     make a false, misleading, or deceptive statement about any

       governmental (federal, state, or other) approval related to a Program of Study;

               (b) ·   represent that a "recommendation" is required for acceptance into a

       Program of Study or that an Admissions Representative must recommend the

       Student for acceptance prior to admission unless such recommendation is an

       independent requirement for admission and is expressly stated in the catalog; or

               (c)     provide inaccurate statistics regarding any statistic required to be

       disclosed by this Consent Judgment or by the U.S. Department of Education in

       Title 34 of the Code of Federal Regulation Chapter 668.



                                             36
      Case 20-50627-CTG            Doc 91-5        Filed 02/15/22      Page 38 of 85




       76.    In connection with any communication with Students or Prospective

Students, Defendants shall not make any false, deceptive, or misleading statements or

guarantees concerning Student outcomes by:

              (a)       misrepresenting that Students will be assured program completion

       or graduation;

              (b)       misrepresenting that Students will be assured a job or employment

       following graduation; or

              (c)       misrepresenting how many of the Student's credits will transfer in

       or out of the school, or representing to the Student that any credits obtained while

       attending the school are transferable (unless EDMC receives written assurance

       from another school or transfer of credits is assured through an articulation

       agreement or is required by state law).

       77.     In connection with any communication with Students or Prospective

Students concerning financial aid, Defendants shall not:

              (a)       make any false, deceptive, or misleading statements concerning

       whether a Student will receive financial aid or any particular amount of financial

       aid;

               (b)      purport to guarantee a Student particular military or veteran benefit

       without proper documentation on file; or

               (c)      imply that financial aid or military funding will cover the entire

       costs of tuition, the costs of books or supplies, or the costs of attending a Program

       of Study, including living expenses, if such is not the case.

Notwithstanding the prohibitions contained in subparagraphs (a) through (c), EDMC and



                                              37
       Case 20-50627-CTG           Doc 91-5       Filed 02/15/22     Page 39 of 85




its representatives are permitted to provide good-faith estimates to Students and

Prospective Students about the amount of financial aid they may be expected to receive.

       78.     Defendants shall not make express or implied false, deceptive, or

misleading claims to Prospective Students with regard to the likelihood of obtaining

employment as a result of enrolling, including, but not limited to misrepresenting:

               (a)     the percentage, rate, or portion of Students who obtain employment

       following the completion of a Program of Study;

               (b)     the annual starting salary for persons employed in a given field;

               (c)     the annual starting salary of Graduates employed in a given field;

       and

               (d)     the annual starting salary of Graduates.

       79.     Defendants shall not make any express or implied false, deceptive, or

misleading claims that Program Completion Rates, job placement rates, or annual salaries

that are generally applicable to EDMC are equivalent to those for a specific Program of

Study or that school-wide rates for a Program of Study are equivalent to those for a specific

campus.

       80.     Defendants shall not make express or implied false, deceptive, or

misleading claims to Students or Prospective Students with regard to the ability to obtain a

license or certification from a third party as a result of enrolling in a Program of Study,

including but not limited to misrepresenting:

               (a)     whether the Program of Study will qualify a Student to sit for a

       licensure exam, if any;

               (b)     the types of licensure exams Students are eligible to sit for;



                                             38
           Case 20-50627-CTG             Doc 91-5         Filed 02/15/22    Page 40 of 85

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                      (c)    the states where completion of the Program of Study will qualify a

            Student to take an exam or attain immediate authorization to work in the field of

            study;

                      (d)    the passage rates of Graduates from that Program of Study;

                      (e)    the states where completion of the Program of Study will not qualify

            a Student to sit for a licensure exam or attain immediate authorization to work in the

            field of study; and

                      (f)    the states where a Student may be qualified to work within a

            profession if the Student must meet other requirements to be employed in such

            states.

            81.       Defendants shall not make express or implied false, deceptive, or

     misleading claims to Prospective Students with regard to the academic standing of its

     programs and faculty including, but not limited to misrepresenting:

                      (a)    the transferability, or lack thereof, of any credits, including but not

            limited to any credits for which the Student wishes to receive credit from an EDMC

            school and for all credits from an EDMC school for which the Student may wish to

            receive credit from another school;

                      (b)    the accreditation and the name of the accrediting organization(s);

                      (c)    the Student/faculty ratio;

                      (d)    the percentage of faculty holding advance degrees in the program;

                      (e)    the names and academic qualifications of all full-time faculty

            members;




                                                   39
      Case 20-50627-CTG            Doc 91-5       Filed 02/15/22     Page 41 of 85




                (f)    the course credits and any requirements for satisfactorily

       completing a Program of Study, such as clinicals, internships, and externships; and

                (g)    the Program Completion Rates for each of its offered Programs of

       Study.

       82.      Defendants shall not make express or implied false or misleading claims to

Prospective Students regarding actual or potential financial obligations the Student will

incur regarding a Program of Study, including but not limited to:

                (a)    the Cost of Attendance;

                (b)    the Anticipated Total Direct Cost the Student will incur to complete

       the Program of Study;

                (c)    the Program Cohort Default Rate; and

                (d)    the Median Debt of Completers of each Program of Study.

       83.      EDMC shall provide all Admissions Representatives and Student Financial

Services Representatives with the information reasonably necessary to inform Prospective

Students about EDMC and its Programs of Study, including but not limited to the

Single-Page Disclosure Sheet, and if a representative of EDMC truthfully advises a

Student or Prospective Student that he or she does not have the information requested by

the Student or Prospective Student at hand, then EDMC shall subsequently, to the extent

such information is reasonably ascertainable prior to the expiration of the applicable refund

period established by paragraph 104 (or, if no such refund period applies, prior to the first

day of the Student's semester, quarter, or payment term), provide such information.

       84.      Except in circumstances in which paragraph 86 applies, if a Prospective

Student expresses an interest in pursuing a career as a medical assistant, psychologist,



                                             40
       Case 20-50627-CTG            Doc 91-5        Filed 02/15/22    Page 42 of 85




surgical technician, surgical technologist, or surgical assistant following graduation from a

Program of Study, the following shall apply:

               (a)     If the Prospective Student has expressed an interest in pursuing a

       career as a medical assistant following graduation from a Program of Study, and the

       Program of Study lacks accreditations from the Commission on Accreditation of

       Allied Health Education Programs ("CAAHEP") or the Accrediting Bureau of

       Health Education Schools ("ABHES"), EDMC shall inform the Prospective

       Student that employers may prefer to hire medical assistants who have been

       designated as Registered Medical Assistants ("RMA") or Certified Medical

       Assistants ("CMA"), and shall further inform the Prospective Student that

       graduates from the Program of Study will be eligible to sit for the examination to

       obtain the RMA designation but will not be eligible to sit for the examination to

        obtain the CMA designation.

               (b)      If the Prospective Student has expressed an interest in pursuing a

        career as a psychologist following graduation from a Program of Study, the

        Prospective Student is considering enrolling in a Program of Study that is not

        accredited by the American Psychological Association ("APA"), and APA

        accreditation is required for licensure in the state where the student resides or the

        campus is located, EDMC shall inform the Prospective Student that because the

        Program of Study is not AP A ~accredited, the Prospective Student is not eligible to

        obtain licensure as a clinical psychologist, school psychologist, or counseling

        psychologist at the state level in the relevant state(s).

                (c)     If the Prospective Student has expressed an interest in pursuing a



                                               41
      Case 20-50627-CTG            Doc 91-5       Filed 02/15/22     Page 43 of 85




       career as a surgical technician, surgical technologist, or surgical assistant, and the

       Prospective Student is considering enrolling in a Program of Study that is not

       accredited by CAAHEP or ABHES, EDMC shall inform the Prospective Student

       that employers may prefer to hire surgical technicians, surgical technologists, and

       surgical assistants who have obtained certification as Certified Surgical

       Technologists ("CST"), and shall further inform the Prospective Student that

       because the Program of Study lacks CAAHEP or ABHES accreditation, the

       Prospective Student will not be eligible to become a CST.

               (d)    If EDMC, the Administrator, or the Attorneys General become

       aware of credible information indicating that a lack of programmatic accreditation

       for a particular Program of Study is prohibiting a significant number of graduates

       from that Program of Study from obtaining a specific career due to employer

       preferences in a state, regional, or national market, the parties shall work in good

       faith to determine whether such information is reasonably reliable and, if

       necessary, develop an appropriate disclosure similar to the disclosures required by

       subparagraphs (a) through (c).

       85.     Except as set forth in paragraph 87, EDMC shall not represent in

advertising, marketing, or promotional materials or otherwise that graduates of a Program

of Study would be qualified for a particular occupation if that Program of Study lacks an

accreditation necessary to qualify graduates for such occupation.

       86.     Except as set forth in paragraph 87, for Programs of Study that prepare

Students for employment in fields that require Students to obtain state licensure or

authorization for such employment, Defendants shall not enroll Students in the Program of



                                             42
       Case 20-50627-CTG             Doc 91-5       Filed 02/15/22     Page 44 of 85




Study if graduation from the Program of Study would not qualify such Students for state

licensure or authorization or to take the exams required for such licensure or authorization

in the state in which:

                 (a)     the EDMC campus is located, ifthe Program of Study is offered at

       an on-ground campus;

                 (b)     the Prospective Student resides, if the student resides in a different

       state from the on-ground campus; or

                 (c)     the Prospective Student resides if the Program of Study is offered

       online.

        87.      The prohibitions established by paragraphs 85, 86, and 89 shall not apply if:

                 (a)     the Program of Study is a new program that cannot obtain a

        programmatic accreditation that would be necessary to qualify Students for state

        licensure or authorization or to take exams required for such licensure or

        authorization in the relevant state until the program is operational, the school is

        making a good faith effort to obtain the necessary programmatic accreditation in a

        timely manner, the school Clearly and Conspicuously discloses to Prospective

        Students on all promotional materials for the Program of Study and in a Clear and

        Conspicuous written disclosure prior to the Student signing an Enrollment

        Agreement that such programmatic accreditation would need to be obtained before

        the Student would qualify for state licensure or authorization or to take exams

        required for such Iicensure or authorization, and EDMC teaches-out the program if

        the school's application for accreditation for a program subject to this paragraph is

        denied, and it is not subject to further review;



                                               43
       Case 20-50627-CTG           Doc 91-5        Filed 02/15/22     Page 45 of 85




               (b)     the Prospective Student has notified EDMC in writing that the

       Student intends to seek employment in a state where the program does lead to

       immediate state licensure or authorization or qualification to take the exams

       required for such licensure or authorization;

               (c)     the Prospective Student has already completed some of the

       coursework necessary to complete the Program of Study and is seeking

       re-enrollment, and EDMC advises the Prospective Student Clearly and

       Conspicuously in writing prior to re-enrollment that completion of the Program of

       Study is not expected to qualify the Student for state licensure or authorization or to

       take exams required for such licensure or authorization; or

               (d)     the reason that graduation from the Program of Study would not

       qualify the Prospective Student for state licensure or authorization or to take the

       exams required for such licensure or authorization is that the Prospective Student

       has a criminal record that is disqualifying, and EDMC has complied with the

       disclosure and acknowledgement requirements of paragraph 90.

       88.     Defendants shall take reasonable measures to arrange and facilitate

sufficient placements for Students in internships, extemships, practicums, or clinicals that

are prerequisites for graduation, licensure, or certification; provided, however, that nothing

herein shall prevent an EDMC school from requiring its Students to seek to obtain an

internship, externship, practicum, or clinical through their own efforts in the first instance.

       89.     EDMC shall not knowingly enroll a Student in a Program of Study that does

not possess the accreditation typically required by employers in the Student's locality for

employment. "Typically" shall mean 75% or more of job opportunities in a particular



                                              44
       Case 20-50627-CTG           Doc 91-5       Filed 02/15/22     Page 46 of 85




occupation are open only to graduates of a school with certain accreditation(s) and/or an

academic program with certain programmatic accreditation(s). EDMC shall make

reasonable efforts to assess local employer requirements in localities where they enroll

Students.

       90.     If EDMC knows that a criminal record may disqualify a Student from

employment in the field or a related field for which the Program of Study is a prerequisite,

then EDMC shall (a) Clearly and Conspicuously disclose that a criminal record may

disqualify the Student for the chosen field or related field of employment and (b) require

the Student's acknowledgment of such disclosure in writing at or before the time of

enrollment. If EDMC knows that a criminal record will disqualify a Student from

employment in the field or a related field for which the Program of Study is a prerequisite,

then EDMC shall (a) Clearly and Conspicuously disclose that a criminal record will be

disqualifying and (b) require the Student's acknowledgment of such disclosure in writing

at or before the time of enrollment.

       91.     Arbitrations between EDMC and any Student shall not be protected or

treated as confidential proceedings, unless confidentiality is required by law or the Student

requests confidentiality. EDMC shall not ask or require any Student, participant, or

witness to agree to keep the arbitration confidential. Except as may be prohibited by law or

a Student request for confidentiality, and subject to appropriate assertions of the

attorney-client privilege and/or the attorney-work-product doctrine, the Administrator and

government entities and regulating bodies, including, but not limited to, state Attorneys

General, shall not be prohibited from reviewing or inspecting the parties, proceedings, and

evidence pertaining to the arbitration.



                                             45
       Case 20-50627-CTG          Doc 91-5        Filed 02/15/22    Page 47 of 85




       92.     EDMC shall not adopt any policy or engage in any practice that delays or

prevents Students with complaints or grievances against EDMC from contacting any

accrediting body, state or federal regulator, or Attorney General regarding the complaint or

grievance. Notwithstanding anything to the contrary in this paragraph, EDMC shall be

permitted to encourage Prospective Students and Students to file any complaint or

grievance with EDMC in the first instance, so long as EDMC does not represent or imply

that Students are required to file their complaints or grievances with EDMC before

contacting any accrediting body, state or federal regulator, or Attorney General regarding

the complaint or grievance, unless the accrediting body, state or federal regulator, or

Attorney General so requires.

                          EDMC RECRUITING PRACTICES

        93.    EDMC shall not engage in any false, misleading, deceptive, abusive, or

unfair acts or practices (as those terms are commonly understood in the context of

consumer protection laws) when recruiting Prospective Students, including during the

orientation program and refund periods referenced in paragraphs I 03 and I 04.

        94.    EDMC shall not use Abusive Recruitment Methods when communicating

with Prospective Students during the admissions and enrollment process. EDMC shall

train Admissions Representatives and other employees to avoid use of Abusive

Recruitment Methods. EDMC shall audit its communications with Prospective Students,

including those of its Admissions Representatives, to ensure that Abusive Recruitment

Methods are not being used. EDMC shall make the results of such audits reasonably

available to the Administrator and the Attorneys General upon request.

        95.    EDMC shall record all telephone calls and online chats between

Admissions Representatives or Student Financial Services Representatives, on the one
                                             46
       Case 20-50627-CTG            Doc 91-5        Filed 02/15/22     Page 48 of 85




hand, and Students or Prospective Students, on the other, subject to interruptions in the

ordinary course of business; provided, however, that EDMC shall not be required to record

telephone calls between Students and Admissions Representatives when the purpose of the

telephone call or online chat is not to discuss recruiting, admissions, financial aid, or career

services issues, but the Admissions Representative is instead serving an advisory role

related to the Student's performance in the Program of Study. This provision shall not

require EDMC to record telephone calls or online chats placed or received on personal

devices, such as cell phones. Admissions Representatives and Student Financial Services

Representatives will be trained not to engage in communications with Students on personal

devices. EDMC shall acquire and implement an automated voice interaction analytics

platform acceptable to the Attorneys General and the Administrator capable of analyzing

all of the call recordings required under this paragraph; provided, however, that EDMC

shall not be required to analyze calls with a duration of two minutes or fewer. EDMC shall

make the call recordings required under this paragraph reasonably available to the

Administrator and the Attorneys General upon request. The voice analytics platform

acquired and implemented shall provide conceptual and intuitive search capability and

shall permit searching and remote retrieval. EDMC shall be relieved of its obligations

under this paragraph on the seventh anniversary of the Effective Date.

        96.     Notwithstanding anything to the contrary in this Consent Judgment, EDMC

shall not be required to record a telephone conversation if the Student or Prospective

Student, after receiving the disclosure required by paragraph 98, objects to the

conversation being recorded, nor shall EDMC be prohibited from continuing a telephone

conversation with a Student or Prospective Student on an unrecorded line once such an



                                               47
       Case 20-50627-CTG            Doc 91-5        Filed 02/15/22    Page 49 of 85




objection has been made; provided, however, that EDMC shall be prohibited from

encouraging Students or Prospective Students to object to recording the conversation.

       97.     Call recordings shall be maintained for a period not less than sixty (60) days

after the date of the call. The Administrator shall have full and complete access to all

recordings via the voice analytics platform.

       98.     EDMC shall inform a Prospective Student at the outset of any telephone

call after the initial greeting that the call may be being recorded. EDMC shall be permitted

to make this disclosure in pre-recorded form.

       99.     EDMC shall not initiate unsolicited telephone calls to a telephone number

that appears on any current Do Not Call Registry. EDMC shall keep an accurate record of

and comply with any request to not receive further telephone calls. EDMC shall not

initiate any outbound telephone calls to a person who has previously stated to EDMC that

he or she does not wish to receive telephone calls from EDMC, or who has expressed a

desire not to be contacted anymore by EDMC, or who has requested that they be placed on

EDMC's internal do-not-call list.

        100.   EDMC shall not continue a telephone call after a Prospective Student has

expressed a desire to conclude the call or has clearly stated that he/she does not want to

apply to or enroll at an EDMC school.

        101.   EDMC shall not prevent a Prospective Student from consulting with or

obtaining advice from a parent, adult friend, or relative with respect to any issue relevant to

enrollment.

        102.   EDMC shall invite Prospective Students under the age of eighteen (18) to

bring an adult with them to any interview/meeting on campus prior to enrollment.



                                               48
       Case 20-50627-CTG           Doc 91-5       Filed 02/15/22     Page 50 of 85




               REQUIRED ORIENTATION AND REFUND PROVISIONS

       103.     EDMC shall require all incoming Students (other than graduate Students

and Students who have already obtained twenty-four (24) or more credits at the

post-secondary education level) to complete an online and/or in-person orientation

program prior to the Student's first class at no cost to the Student. This orientation

program shall be approved by the Administrator in consultation with the Attorneys

General. This orientation program shall address such topics as study skills, organization,

literacy, financial skills, and computer competency. A Student may withdraw from

enrollment in a Program of Study at any time during the orientation program without any

cost, and any grants or financial aid received on behalf of the Student shall be returned to

the grantor or lender.

        104.    All Students who are newly enrolled in any fully online Program of Study at

an EDMC school (other than graduate Students and Students who have already obtained

twenty-four (24) or more online credits at the post-secondary education level) shall be

permitted to withdraw within twenty-one (21) days of the first day of the Student's

semester, quarter, or (with respect to students enrolled in a non-term program) payment

term at the EDMC school in which the Student enrolled. All Students who are newly

enrolled in any on-ground Program of Study at an EDMC school (other than graduate

Students) shall be permitted to withdraw within seven (7) days of the first day of the

Student's first term or first scheduled day of class, whichever is latest in time, at the EDMC

school in which the Student enrolled. EDMC shall Clearly and Conspicuously disclose the

availability of the refund periods described in this paragraph in the Enrollment Agreement.

EDMC shall not hold a qualifying Student who withdraws in accordance with this

paragraph liable for any tuition and fees associated with attending classes and shall return
                                             49
       Case 20-50627-CTG            Doc 91-5      Filed 02/15/22     Page 51 of 85




to grantors or lenders any grants and financial aid received for or on behalf of the Student.

Under no circumstances shall the time of a Student's attendance in the orientation program

required pursuant to paragraph 103 be included in the refund periods required pursuant to

this paragraph.

        I 05.     Except for qualifying Students who withdraw during the new Student

orientation program required pursuant to paragraph I 03 or the applicable refund period

established by paragraph 104, when a Student withdraws from a Program of Study, EDMC

may retain or be entitled to payment for a percentage of any tuition and fees and other

educational costs earned, based on the percentage of the enrollment period attended by the

Student, subject to the EDMC school's internal refund policies and applicable law;

provided, however, that where a student has not attended sixty (60) percent of the academic

term as calculated in accordance with 34 CFR 668.22, EDMC shall not retain or be entitled

to payment for a percentage of any tuition and fees or other educational costs for a class

that was scheduled to be taken during the relevant academic term but was not attended

because the student withdrew from school prior to the commencement of the class. No

EDMC school shall change its internal policy with respect to calculating the percentage of

tuition and fees and other educational costs that a Student remains obligated to pay upon

withdrawal in a manner that results in the policy becoming less favorable to Students

unless EDMC obtains the prior approval of the Administrator or, if the Administrator's

term has expired, the Executive Committee. EDMC shall comply with all state and federal

record-keeping requirements for documenting Student attendance and determining dates of

withdrawal.




                                             50
      Case 20-50627-CTG                  Doc 91-5     Filed 02/15/22    Page 52 of 85




       106.     EDMC shall comply with applicable state and federal law specifying the

amounts owed by or to be refunded to Students to the extent their application would result

in a greater refund or lower cost for a Student than is otherwise required herein.

                 THIRD-PARTY LEAD VENDOR REQUIREMENTS

        I 07.   EDMC shall require that all contracts with Third-Party Lead Vendors who

provide it with lead generation services include each of the following:

                (a)      a provision requiring that the Third-Party Lead Vendor comply

       with:

                                 (i)       EDMC's Administrator-approved Online Vendor

                         Compliance Guide in effect at the time of contracting or as may be

                         modified subsequently, subject to approval by the Administrator;

                                 (ii)      all applicable state and federal consumer protection

                         laws;

                                 (iii)     all provisions in the Code of Conduct referenced in

                         paragraph 108, when applicable; and

                                 (iv)       all provisions of the Telephone Consumer

                         Protection Act, 47 U.S.C. § 227.

                (b)      a prohibition on attracting Students or obtaining leads by misleading

        advertising suggesting available employment opportunities rather than educational

        opportunities;

                (c)      a prohibition on representing that a Student or Prospective Student

        is guaranteed to receive "free" financing from the federal or a state government;

       provided, however, that EDMC may permit its Third-Party Lead Vendors to


                                                 51
Case 20-50627-CTG          Doc 91-5        Filed 02/15/22    Page 53 of 85




represent that grants and scholarships may be available and would not need to be

repaid;

          (d)   a prohibition on representing that loans are grants that do not carry

with them an obligation to be repaid;

          (e)   a provision prohibiting Third-Party Lead Vendors from transferring

a consumer inquiry to an EDMC school unless the consumer has expressly

informed the Third-Party Lead Vendor that he or she is interested in educational

opportunities. Prior to directing a consumer to an EDMC school, Third-Party Lead

Vendors shall be required to ask the consumer if they are interested in educational

opportunities. Should the consumer say "no," or otherwise provide a clear negative

response as to their interest in pursuing educational opportunities, the consumer

cannot be directed to an EDMC school. Should the consumer say "I'm not sure," or

otherwise provide an equivocal response as to their interest in pursuing educational

opportunities as opposed to job opportunities, the Third-Party Lead Vendor shall be

permitted to describe the advantages an education may provide in creating

additional job opportunities, but in so doing, the Third-Party Lead Vendor shall be

prohibited from referencing any specific salary amounts. The Third-Party Lead

Vendor shall then again ask the consumer if they are interested in educational

opportunities. Should the consumer respond by providing a clear and affirmative

indication that they are interested in educational opportunities, the Third-Party

Lead Vendor shall be permitted to continue directing the consumer to an EDMC

school; otherwise, the consumer cannot be directed to an EDMC school. In all

events, prior to transferring any consumer to a representative of any EDMC school,



                                      52
      Case 20-50627-CTG           Doc 91-5       Filed 02/15/22     Page 54 of 85




       Third-Party Lead Vendors shall be required to reconfirm the consumer's interest in

       pursuing educational opportunities; and

               (f)    a requirement that all Third-Party Lead Vendors begin calls made

       on behalf ofEDMC with the following statement immediately after the consumer

       answers the phone, "This is [insert name] from [insert company], this call may be

       recorded for quality assurance and training purposes," or words to that effect.

       Should the consumer that answers the phone transfer the call to another consumer,

       the preceding statement must be repeated for this consumer and any other

       consumer that may be later connected to the call. Additionally, the Third-Party

       Lead Vendor will clearly state that "this call may be recorded for quality assurance

       and training purposes" before transferring a call to EDMC.

       108.    In addition, EDMC shall negotiate in good faith with the Attorneys General

and other industry participants with the goal of codifying a Code of Conduct for the

recruitment of Students through Third-Party Lead Vendors. The Code of Conduct shall

include provisions to help ensure that Third-Party Lead Vendors do not make misleading

claims or use misleading solicitation strategies when generating leads for the industry

participants. EDMC shall be bound to abide by the provisions of the Code of Conduct that

the industry participants agree to follow and implement as long as those provisions do not

conflict with any other requirement of this Consent Judgment. EDMC shall not be

obligated to abide by the Code of Conduct provisions unless and until the Code of Conduct

becomes effective as to industry participants representing (together with EDMC) at least

50% of students enrolled in for-profit schools, with such percentage to be calculated using

the most recent available data from The Integrated Postsecondary Education Data System



                                            53
       Case 20-50627-CTG           Doc 91-5       Filed 02/15/22     Page 55 of 85




regarding student enrollments at four-year and two-year for-profit institutions that award

degrees at the associate's degree level or above.

       109.    EDMC and the Administrator shall, in consultation with the Attorneys

General, devise a plan for EDMC to monitor the conduct of EDMC' s Third-Party Lead

Vendors and verify that they are complying with the contractual terms set forth in

paragraph 107, including but not limited to whether the Third-Party Lead Vendors are

using any unfair, false, misleading, deceptive, or abusive acts or practices (as those terms

are commonly understood in the context of consumer protection laws), and the use of any

incentive, discount, or inducement of any kind to encourage Student inquiries or otherwise

used to recruit Students.

        110.   IfEDMC learns that a Third-Party Lead Vendor has failed to comply with

the contractual terms set forth in paragraph 107, EDMC shall retain a record of such

violation (which record shall be available to the Administrator and the Attorneys General

upon request) for a period of two (2) years and shall address such violation by taking one or

more adverse actions against the segment of the Third-Party Lead Vendor's business in

which the violation occurred (for example, if the Third-Party Lead Vendor commits a

violation related to a webpage, electronic solicitation, or other online advertisement,

EDMC shall not be required to take adverse action against that Third-Party Lead Vendor

with respect to any call center services that the Third-Party Lead Vendor may be providing

to EDMC) as follows:

               (a)     First violation within any rolling 12-month period: EDMC shall

       notify the Third-Party Lead Vendor of the violation and the steps it must take to

       correct the violation. If, within five (5) business days, the Third-Party Lead Vendor



                                             54
          Case 20-50627-CTG             Doc 91-5         Filed 02/15/22   Page 56 of 85

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           does not document that it is actively engaged in making the required changes, the

           violation shall be escalated to EDMC's Chief Marketing Officer who shall inform

           the Third-Party Lead Vendor and pause the campaign until the violation is

           corrected;

                  (b)      Second violation within any rolling 12-month period: EDMC shall

           notify the Third-Party Lead Vendor of the violation and the steps it must take to

           correct the violation. If, within five (5) business days, the Third-Party Lead Vendor

           does not document that it is actively engaged in making the required changes, the

           violation shall be escalated to EDMC's Chief Marketing Officer who shall inform

           the Third-Party Lead Vendor and pause the campaign for thirty (30) days or until

           the violation is corrected, whichever is longer; and

                   (c)     Third violation within any rolling 12-month period: EDMC shall

           notify the Third-Party Lead Vendor of the violation and the steps it must take to

           correct the violation. If, within five (5) business days, the Third-Party Lead Vendor

           does not document that it is actively engaged in making the required changes, the

           violation shall be escalated to EDMC's Chief Marketing Officer who shall inform

           the Third-Party Lead Vendor that the segment of the Third-Party Lead Vendor's

           business in which the violations occurred shall be removed from EDMC's vendor

           list for a period of at least one (1) year;

    provided, however, that nothing in this paragraph shall be deemed to limit or otherwise

    affect EDMC's obligations under paragraph 111 of the Consent Judgment.

           111.    Termination Violations.

                   (a)     For purposes of this paragraph, a "Termination Violation" means



                                                   55
Case 20-50627-CTG           Doc 91-5       Filed 02/15/22       Page 57 of 85




any one of the following occurrences:

               (1)     a Third-Party Lead Vendor's webpage, electronic

       solicitation, or other online advertisement references both a post-secondary

       educational opportunity and an employment opportunity, and the webpage,

       electronic solicitation, or online advertisement (i) uses a substantially

       smaller font size to present the educational opportunity as compared with

       the employment opportunity or (ii) represents the educational opportunity

       as a "want ad" or employment application;

               (2)     a Third-Party Lead Vendor's webpage, electronic

       solicitation, or other online advertisement states that the Prospective

       Student (i) is eligible for a scholarship, grant, or financial aid as the result of

       a drawing or raffle, (ii) has been specially selected to receive a scholarship,

       grant, or financial aid, or (iii) is entitled to receive compensation to fund his

       or her education in exchange for completing a form; or

               (3)     a Third-Party Lead Vendor's webpage, electronic

       solicitation, or other online advertisement states that a Prospective Student

       will receive compensation to fund his or her post-secondary education that

       will not need to be repaid, unless the statement refers to grants that are

       expressly stated to be subject to eligibility.

       (b)     Notwithstanding anything in paragraph 110 to the contrary, in the

event that a Third-Party Lead Vendor incurs three Termination Violations within a

180-day period, EDMC shall, within thirty (30) days of discovering the third such

Termination Violation, terminate any outstanding insertion orders to the segment



                                      56
      Case 20-50627-CTG            Doc 91-5        Filed 02/15/22     Page 58 of 85




       of the Third-Party Lead Vendor's business in which the Termination Violations

       occurred and not issue any new insertion orders to that business segment for at least

       ninety (90) days; provided, however, that the requirements of this subparagraph

       shall not apply ifthe EDMC and/or the Third-Party Lead Vendor document to the

       reasonable satisfaction of the Administrator that the three Termination Violations

       that would otherwise have triggered the requirements of this subparagraph

       represented, in the aggregate, no more than 1% of the total Prospective Student

       leads from the Third-Party Lead Vendor during the relevant period.

        112.   Upon written notice from the Attorneys General or Administrator that a

Third-Party Lead Vendor has failed to comply with the contractual terms set forth in

paragraph 107 of this Consent Judgment, or any provision of an applicable state consumer

protection law, EDMC shall conduct an investigation of the Third-Party Lead Vendor

practice and report the results of that investigation to the Attorneys General and to the

Administrator within thirty (30) days, unless the Attorneys General agree otherwise.

        113.   EDMC shall maintain policies and procedures and take appropriate action,

including but not limited to exercising any rights available to it under a contract, to require

Third-Party Lead Vendors to comply with this Consent Judgment. Appropriate action

shall be determined by the nature and circumstance of the alleged violation, including but

not limited to the pattern or severity of the alleged conduct.

        114.   Subject to the prior approval of the U.S. Department of Education, EDMC

shall work in good faith to develop and implement a system of paying Third-Party Lead

Vendors based on the actual quality of leads produced by the particular vendor.




                                              57
      Case 20-50627-CTG               Doc 91-5    Filed 02/15/22    Page 59 of 85




       115.      Nothing in this Consent Judgment limits the right of the Attorneys General

to investigate or take any action against Third-Party Lead Vendors for any violation of

applicable law, nor shall anything in the Consent Judgment be construed to limit the

remedies available to the Attorneys General for any violation of applicable law by

Third-Party Lead Vendors.

                                 V.      ENFORCEMENT

       116.      The terms of this paragraph apply only during the term of the

Administrator.

                 (a)    If at any time it appears that EDMC is engaged in a practice or

       pattern of non-compliance, or commits an egregious act of non-compliance, either

       on the basis of information obtained by the Administrator pursuant to the workplan

       or from information obtained through any other source, then the Administrator

       shall review the relevant facts, collect whatever additional facts the Administrator

       deems necessary, seek EDMC's position as to the practice, pattern, or egregious act

       of non-compliance and related instances of individual violations, and shall work in

       conjunction with EDMC to devise a corrective action plan to remedy such practice

       or pattern of non-compliance, including a reasonable period for corrective action

       and implementation of such plan. To the extent that the Administrator and EDMC

       are unable to agree to a corrective action plan, the Attorneys General may take

       whatever action they deem necessary, including but not limited to bringing an

       action to enforce this Consent Judgment, filing a new original action, conducting

       further investigation, or attempting to negotiate a corrective action plan directly

       with EDMC. Should the Attorneys General choose to file a new original action,

       nothing referred to in this paragraph shall affect the release in paragraph 129.
                                             58
Case 20-50627-CTG           Doc 91-5        Filed 02/15/22      Page 60 of 85




       (b)      At a reasonable time following the period for corrective action, the

Administrator shall provide a report to the Executive Committee, setting forth:

                (1)     a description of the practice or pattern of non-compliance

        and related instances of individual violations of the Consent Judgment

        (including the relevant facts);

                (2)     a description of the corrective action plan;

                (3)     findings by the Administrator as to whether the

        Administrator deems it reasonably likely that EDMC is in substantial

        compliance with the terms of the Consent Judgment, including but not

        limited to whether EDMC has ceased to engage in a practice or pattern of

        non-compliance; and

                (4)     a description of EDMC's views as to the foregoing matters.

        (c)     The Attorneys General agree that they will meet and confer with

EDMC concerning the subject of the action before filing any action related to this

Consent Judgment, so long as EDMC makes necessary representatives available to

meet and confer in a timely manner. However, an Attorney General may take any

action where the Attorney General concludes that, because of a specific practice, a

threat to the health, safety, or welfare of the citizens of the State exists, or the

practice creates a public emergency requiring immediate action.

        (d)     The Attorneys General agree that no action may be filed to enforce

the terms of this Consent Judgment unless they have proceeded as set forth in this

paragraph. However, an Attorney General may take any action where the Attorney

General cone] udes that, because of a specific practice, a threat to the health, safety,



                                       59
           Case 20-50627-CTG            Doc 91-5        Filed 02/15/22     Page 61 of 85

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            or welfare of the citizens of the State exists, or the practice creates a public

            emergency requiring immediate action.

            117.      The terms of this paragraph shall apply following the term of the

     Administrator.

                      (a)    For the purposes of resolving disputes with respect to compliance

            with this Consent Judgment, should any of the Attorneys General have a reasonable

            basis to believe that EDMC has engaged in a practice that violates a provision of

            this Consent Judgment and decide to pursue the matter, then such Attorney General

            shall notify EDMC in writing of the specific practice in question, identify with

            particularity the provision of this Consent Judgment that the practice appears to

            violate, and give EDMC thirty (30) days to respond to the notification. Within

            thirty (30) days of its receipt of such written notice, EDMC shall provide a

            good-faith written response to the Attorney General notification, containing either

            a statement explaining why EDMC believes it is in compliance with the Consent

            Judgment, or a detailed explanation of how the alleged violation occurred and a

            statement explaining how EDMC intends to remedy the alleged breach.

                      (b)    EDMC shall provide the Attorneys General reasonable access to

            inspect and copy relevant, non-privileged records and documents in the possession,

            custody, or control ofEDMC that relate to EDMC's compliance with each

            provision of this Consent Judgment pursuant to that State's CID or investigative

            subpoena authority. If the Attorneys General make or request copies of any

            documents during the course of that inspection, the Attorneys General will provide

            a list of those documents to EDMC. This provision does not limit the Attorneys



                                                   60
           Case 20-50627-CTG            Doc 91-5       Filed 02/15/22      Page 62 of 85

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           General's rights to otherwise serve subpoenas or CIDs on EDMC or to enforce

           them.

                   (c)     The Attorneys General may assert any claim that EDMC has

           violated this Consent Judgment in a separate civil action to enforce compliance

           with this Consent Judgment, or may seek any other relief afforded by law, but only

           after providing EDMC an opportunity to respond to the notification described in

           subparagraph (a);provided, however, that an Attorney General may take any action

            if the Attorney General concludes that a specific practice of EDMC requires

            immediate action due to a threat to the health, safety, or welfare of the public, or the

           practice creates a public emergency requiring immediate action.

            118.   The Attorneys General agree to make good faith efforts to coordinate any

    future efforts to enforce violations of the injunctive relief herein, to the extent they are

    reasonably able and willing to do so. To that end, each Attorney General agrees to provide

    notice to the Executive Committee at least ten (10) business days prior to the filing of any

    action to enforce this Consent Judgment against any of the parties released from liability

    pursuant to paragraph 129. However, nothing in this paragraph shall be construed so as to

    limit the right of a state to enforce any law in any action by that state. In addition, the

    notice requirement stated herein shall not apply to the extent that the relevant Attorney

    General concludes that further delay in acting constitutes a threat to public health, safety,

    or welfare, or that the action intended to be taken addresses a public emergency requiring

    immediate action. For the avoidance of doubt, nothing in this paragraph shall relieve the

    Attorneys General of the requirements of paragraphs 116 and 117 of this Consent

    Judgment, which must be satisfied before any Attorney General may provide the notices



                                                  61
            Case 20-50627-CTG            Doc 91-5       Filed 02/15/22     Page 63 of 85

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     required by this paragraph.

            119.    Subject to the release set forth in paragraph 129, nothing in this Consent

     Judgment limits the right of the Attorneys General to conduct investigations or

     examinations or file suit for any violation of applicable law, nor shall anything in the

     Consent Judgment be construed to limit the remedies available to the Attorneys General for

     any violation of applicable law that is not released by this Consent Judgment. For the

     avoidance of doubt, nothing in this paragraph shall be construed to modify the procedures

     to be followed prior to the filing of an action to enforce the terms of this Consent Judgment,

     as set forth in paragraphs 116 through 118.

                                   VI.   INSTITUTIONAL DEBT

             120.   For purposes of this paragraph and paragraph 121, a "Qualifying Former

     Student" means any former student who meets the following criteria: (a) enrolled in a

     Program of Study with fewer than twenty-four (24) hours of transfer credit, (b) withdrew

     from the Program of Study within forty-five (45) days of the first day of their first term, and

     (c) whose final day of attendance at an EDMC school was between January 1, 2006, and

     December 31, 2014. As partial consideration for the release set forth in paragraph 129,

     without any admission of wrongdoing, Defendants agree to forgo efforts to collect all

     amounts that Defendants claim is owed to EDMC by Qualifying Former Students

     (hereinafter "Institutional Debt"), which amounts totaled, as of September 11, 2015,

     approximately $102,800,000.00. For the avoidance of doubt, Institutional Debt shall not

     include debts that are owed to non-ED MC entities, such as, for example, federal student

     loans owed to the United States government. In the event that a Qualifying Former Student

     or a co-signer for a Qualifying Former Student attempts to make a payment to EDMC

     subsequent to the Effective Date that relates to Institutional Debt, EDMC shall use its
                                                   62
           Case 20-50627-CTG            Doc 91-5       Filed 02/15/22      Page 64 of 85


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    reasonable best efforts to refuse such payment and return the payment. Defendants shall

    request that any and all trade line information related to amounts covered by this paragraph

    be deleted from Qualifying Former Students' credit reports, to the extent that such trade

    line information exists, at Defendants' own expense.

            121.   Within ninety (90) days of the Effective Date, Defendants shall send a letter

    by U.S. mail to each Qualifying Former Student at his or her last known mailing address

    notifying such former students that Defendants are foregoing collection on their

    Institutional Debt, including all interest and fees. The notice shall state that due to a recent

    settlement with the Attorneys General the student's account balance owing to EDMC is $0

    and shall encourage the student to advise any and all co-signers that the student's account

    balance owing to EDMC has been reduced to $0. The notice shall also inform the student

    that Defendants will send a copy of the notice to each of the credit reporting agencies (i.e.,

    Trans Union, Equifax, and Experian). The notice shall further inform the student that ifthe

    student finds that the amounts owed to Defendants by the student are still erroneously

    appearing on the student's credit report after one hundred and twenty (120) days and

    notifies Defendants, then Defendants, at their own expense, shall promptly and properly

    notify the appropriate credit reporting agency, whether directly or indirectly, of any

    change(s) to be made to the credit reporting resulting from the application of the terms of

    this Consent Judgment. The notice shall provide Defendants' contact information for

    making a request to correct a credit report and for any additional inquiries about the

    student's account.




                                                  63
             Case 20-50627-CTG          Doc 91-5       Filed 02/15/22    Page 65 of 85


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                        VII.   TIME TO IMPLEMENT AND DURATION

             122.   Except as otherwise provided in paragraphs 35 and 121 and Exhibit A

    hereto, EDMC shall implement the terms of the Consent Judgment by no later than the

    Effective Date.

             123.     With respect to each of the paragraphs of the Consent Judgment listed in

    Exhibit A hereto, EDMC shall implement the terms of the relevant paragraph of the

    Consent Judgment by no later than the date set forth in Exhibit A.

             124.     Except as otherwise provided in paragraphs 38, 49, and 95, EDMC shall be

    relieved of its obligations under this Consent Judgment on the twentieth anniversary of the

    Effective Date; provided, however, that EDMC's obligations under paragraphs 74 through

    83, 85, 93, 94 (first sentence only), 131, 135 through 138, and 141 of the Consent Judgment

    shall remain in effect unless and until the Consent Judgment is vacated or modified by the

    Court.

             125.     Beginning on the fourth anniversary of the Effective Date, EDMC shall

    have the right to petition the Executive Committee to be relieved of its obligations under

    specific identified paragraphs of the Consent Judgment that EDMC believes have become

    overly burdensome or unnecessary. EDMC shall set forth in writing the reasons why it

    believes it should be relieved from such obligations and any additional factors that it would

    like the Executive Committee to consider. Moreover, if the U.S. Department of Education

    adopts regulations that establish a uniform approach for the calculation and disclosure of

    job placement rates that is applicable to EDMC schools, then EDMC may petition the

    Executive Committee to be relieved of its obligations under paragraph 23 and paragraphs

    62 through 70 on the date when such regulations become effective. The Executive

    Committee shall consider any petitions made by EDMC in good faith and, in each case, the

                                                  64
       Case 20-50627-CTG           Doc 91-5        Filed 02/15/22     Page 66 of 85




Executive Committee shall be obligated to meet and confer with EDMC within sixty (60)

days of the request being sent and to make a recommendation about the petition to the

Attorneys General within sixty (60) days thereafter. In the event that EDMC sells or

otherwise transfers control of one or more of its schools to a third-party acquirer (the

"Acquiring Company"), and the Acquiring Company becomes subject to the terms of this

Consent Judgment as a successor to EDMC, the Acquiring Company shall assume

EDMC's rights to petition under this paragraph with respect to the schools sold or

transferred by EDMC.

                       VIII. MISCELLANEOUS PROVISIONS

        126.   If the position of the Administrator is vacant or the Administrator's term

has expired, then, to the extent that this Consent Judgment or the work plan referenced in

paragraph 35 requires the Administrator's approval or consent for EDMC to take a

particular action, then EDMC shall be entitled to take that action if it notifies the Attorneys

General of its intent to act and the Attorneys General fail to object with particularity within

thirty (30) days. If the Attorneys General object and particularize the bases for the

objection within the thirty (30) day period, then the Parties shall promptly meet and confer,

following which EDMC shall be entitled to seek judicial review with regard to the

objection if necessary.

        127.   Either the Attorneys General or EDMC may request to meet and confer

with respect to any aspect of this Consent Judgment or its implementation by notifying the

other party. The notice shall state the subjects proposed to be discussed. The recipient of

the notice shall in good faith make itself and/or its representatives available to meet and

confer at a mutually convenient time within thirty (30) days of the notice being sent.



                                              65
       Case 20-50627-CTG            Doc 91-5        Filed 02/15/22     Page 67 of 85




        128.   This Consent Judgment is for settlement purposes only. No part of this

Consent Judgment constitutes or shall be deemed to constitute an admission by Defendants

that they have ever engaged in any conduct proscribed by this Consent Judgment, nor shall

this Consent Judgment constitute evidence against Defendants in any action brought by

any person or entity for any violation of any federal or state statute or regulation or the

common law, except in an action brought by the Attorney General to enforce the terms of

this Consent Judgment.

        129.    As of the Effective Date, the Plaintiff hereby releases Defendants from all

civil claims, actions, causes of action, damages, losses, fines, costs, and penalties related to

the allegations of the Complaint in this action, that have been or could have been brought

against Defendants or any of their respective current or former affiliates, agents,

representatives, or employees pursuant to FDUTPA or other consumer-related or civil

fraud laws (including common law claims concerning fraudulent trade practices) on or

before the Effective Date. Notwithstanding any other term of this Consent Judgment, the

following do not comprise Released Claims: private rights of action; UDAP enforcement

actions relating to representations made to students in 20 l 5 regarding the planned closure

of campuses of The Art Institutes; criminal claims; claims of environmental or tax liability;

claims for property damage; claims alleging violations of State or federal securities laws;

claims alleging violations of State or federal antitrust laws; claims alleging violations of

State or federal false claims laws, including but not limited to all claims brought in United

States, et al. v. EDMC, et al., Case No. 2:07-cv-00461; claims brought by any other agency

or subdivision of the State; claims alleging violations of State or federal privacy laws or

State data breach laws; and claims alleging a breach of this Consent Judgment.



                                               66
       Case 20-50627-CTG           Doc 91-5          Filed 02/15/22   Page 68 of 85




       130.    The Parties agree that this Consent Judgment does not constitute an

approval by the Attorneys General of any of Defendants' past or future practices, and

Defendants shall not make any representation to the contrary.

       131.    The requirements of this Consent Judgment are in addition to, and not in

lieu of, any other requirements of state or federal law. Nothing in this Consent Judgment

shall be construed as relieving Defendants of the obligation to comply with all local, state,

and federal laws, regulations, or rules, nor shall any of the provisions of this Consent

Judgment be deemed as permission for Defendants to engage in any acts or practices

prohibited by such laws, regulations, or rules.

        132.   Nothing contained in this Consent Judgment shall be construed to create or

waive any individual private right of action.

        133.   Except as permitted by paragraph 134, Defendants shall not participate

directly or indirectly in any activity to form or proceed as a separate entity or corporation

for the purpose of engaging in acts prohibited in this Consent Judgment or for any other

purpose which would otherwise circumvent any part of this Consent Judgment.

        134.   EDMC shall be permitted, without the provisions of this consent judgment

applying, to complete transactions in which it sells or otherwise transfers control of one or

more of its schools representing in the aggregate less than 3% of (a) EDMC's net revenues

for the fiscal year ended June 30, 2015, or (b) the average starting student body at EDMC's

post-secondary institutions during the fiscal year ended June 30, 2015, to an Acquiring

Company, and neither the transferred schools shall remain nor the Acquiring Company

shall become subject to the terms of this Consent Judgment, as successors to EDMC or

otherwise (an "Exempted Transaction"); provided, however, that in no event may the



                                                67
       Case 20-50627-CTG           Doc 91-5        Filed 02/15/22     Page 69 of 85




aggregate of all Exempted Transactions ever exceed 10% of either (a) EDMC's net

revenues for the fiscal year ended June 30, 2015, or (b) the average starting student body at

EDMC's post-secondary institutions during the fiscal year ended June 30, 2015.

Notwithstanding the foregoing, in no event will the sale or transfer of a school by EDMC

qualify as an Exempted Transaction if (a) the school was among the largest 11 % of school

locations at EDMC (excluding the impact of students attending fully online programs)

based on the average starting student body during the fiscal year ended June 30, 2015, or

(b) the Acquiring Company is owned or controlled by any person or entity affiliated with

EDMC or any EDMC board member or officer.

        135.   If any clause, provision or section of this Consent Judgment shall, for any

reason, be held illegal, invalid or unenforceable, such illegality, invalidity or

unenforceability shall not affect any other clause, provision or section of this Consent

Judgment and this Consent Judgment shall be construed and enforced as if such illegal,

invalid, or unenforceable clause, section, or other provision had not been contained herein.

        136.   The section headings and subheadings contained in this Consent Judgment

are included for convenience of reference only and shall be ignored in the construction or

interpretation of this Consent Judgment.

        137.   To the extent that any changes in Defendants' business, advertisements,

and/or advertising practices are made to achieve or facilitate conformance to the terms of

this Consent Judgment, the fact that such changes were made shall not constitute any form

of evidence or admission, explicit or implicit, by Defendants of wrongdoing.

        138.    In the event that any statute, rule, or regulation pertaining to the subject

matter of this Judgment is enacted, promulgated, modified, or interpreted by any federal or



                                              68
       Case 20-50627-CTG           Doc 91-5        Filed 02/15/22     Page 70 of 85




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state government or agency, or a court of competent jurisdiction holds that such statute,

rule, or regulation is in conflict with any provision of the Consent Judgment, and

compliance with the Consent Judgment and the subject statute, rule or regulation is

impossible, Defendants may comply with such statute, rule or regulation and such action in

the affected jurisdiction shall not constitute a violation of this Consent Judgment.

Defendants shall provide written notices to the Attorneys General and the Administrator, if

applicable, that it is impossible to comply with the Consent Judgment and the subject law

and shall explain in detail the basis for claimed impossibility, with specific reference to any

applicable statutes, regulations, rules, and court opinions. Such notice shall be provided

immediately upon EDMC learning of the potential impossibility and at least thirty (30)

days in advance of any act or omission which is not in compliance with the Consent

Judgment. Nothing in this paragraph shall limit the right of the Attorney General to

disagree with EDMC as to the impossibility of compliance and to seek to enforce the

Consent Judgment accordingly.

        139.    All notices under this Consent Judgment shall be provided to the following

via email and Overnight Mail:

ForEDMC:

J. Devitt Kramer
Senior Vice President, General Counsel and Secretary
Education Management Corporation
210 Sixth Avenue, 33rd Floor
Pittsburgh, Pennsylvania 15222
devitt.kramer@edmc.edu

and

Bradley R. Wilson
Wachtell, Lipton, Rosen & Katz
51 West 52nd Street

                                              69
       Case 20-50627-CTG          Doc 91-5        Filed 02/15/22    Page 71 of 85




New York, New York 10019
brwilson@wlrk.com

For the State of Florida:

Mark S. Hamilton
Special Counsel
Office of the Attorney General
107 W. Gaines Street
Tallahassee, FL 32399
Mark.Hamilton@myfloridalegal.com

        140.   Defendants shall be liable for all court costs.

        141.   The Court retains jurisdiction of this action for the purpose of ensuring

compliance.

        142.   This document is signed in anticipation of the Consent Judgment being

submitted to the Court for approval, without necessity of hearing, which is hereby

WAIVED by all parties. The signatures below indicate the parties' consent and agreement

to this Consent Judgment.




SIGNATURES ON FOLLOWING PAGES.




                                             70
     Case 20-50627-CTG          Doc 91-5        Filed 02/15/22      Page 72 of 85




                        ACCEPTANCE BY DEFENDANTS

EDUCATION MANAGEMENT                            THE ART INSTITUTES
CORPORATION                                     INTERN ATI ON AL II LLC



                                                By:    Timothy P. Moscato
                                                Its:   Chief Operating Officer

                                                SOUTH UNIVERSITY, LLC
EDUCATION MANAGEMENT
HOLDINGS LLC

                                                By:    John T. South, III
~-"·~~
~ Mark A.~achen
                                                Its:   President

Its:    President and Chief Executive           BROWN MACKIE EDUCATION II LLC
Officer

EDUCATION MANAGEMENT
HOLDINGS II LLC                                 By:    Danny D.
                                                Its:   President

                                                ARGOSY UNIVERSITY OF
B.    Mark A. McEaclletl                        CALIFORNIA LLC
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT LLC                        By:    Cynthia G. Baum
                                                Its:   President


~~arfA.~:~
Its: President and Chief Executive
                                                ARGOSY UNIVERSITY OF FLORIDA.
                                                INC.

Officer

EDUCATION MANAGEMENT II LLC
                                                       !/~~
                                                ~ttKramer
                                                Its:    Secretary


By~rk~ M~~
Its:
                ..
        President and Chief Executive
Officer




                                           72
          Case 20-50627-CTG      Doc 91-5    Filed 02/15/22      Page 73 of 85



                         ACCEPTANCE BY DEFENDANTS

 EDUCATION MANAGEMENT                            THE ART INSTITUTES
 CORPORATION                                     INTER~_A_]]_ONAL II LLC{           f
                                                    r-1   ~        \? ~/,.P~)
 By:     Mark A. McEachen                        By:      Timoth P. Moscato
 Its:    President and Chief Executive           Its:     Chief Operating Officer
 Officer
                                                 SOUTH UNIVERSITY, LLC
 EDUCATION MANAGEMENT
 HOLDINGS LLC

                                                 By:      John T. South, III
                                                 Its:     President
By:     Mark A. McEachen
Its:    President and Chief Executive            BROWN MACKIE EDUCATION II LLC
Officer

EDUCATION MANAGEMENT
HOLDINGS II LLC                                  By:      Danny 0. Finuf
                                                 Its:     President

                                                 ARGOSY UNIVERSITY OF
By:     Mark A. McEachen                         CALIFORNIA LLC
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT LLC                         By:      Cynthia G. Baum
                                                 Its:     President

                                                 ARGOSY UNIVERSITY OF FLORIDA.
By:     Mark A. McEachcn                         INC.
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT II LLC                      By:      J. Devitt Kramer
                                                 Its:     Secretary


By:      M.t. A. McEachen
ba:   . ·Ptelident and Chief EBcutive
omc.r

                                            72
    Case 20-50627-CTG          Doc 91-5    Filed 02/15/22     Page 74 of 85




                        ACCEPTANCE BY DEFENDANTS
EDUCATION MANAGEMENT                           THE ART INSTITUTES
CORPORATION                                    INTERNATIONAL II LLC



By:     Mark A. McEachen                       By:    Timothy P. Moscato
Its:    President and Chief Executive          Its:   Chief Operating Officer
Officer
                                               SOUTH UNIVERSITY, LLC
EDUCATION MANAGEMENT
HOLDINGS LLC

                                               By:
                                               Its:
By:     Mark A. McEachen
Its:    President and Chief Executive          BROWN MACKIE EDUCATION II LLC
Officer

EDUCATION MANAGEMENT
HOLDINGS II LLC                                By:    Danny D. Finuf
                                               Its:   President

                                               ARGOSY UNIVERSITY OF
By:     Mark A. McEachen                       CALIFORNIA LLC
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT LLC                       By:    Cynthia G. Baum
                                               Its:   President

                                               ARGOSY UNIVERSITY OF FLORIDA,
By:     Mark A. McEachen                       INC.
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT II LLC                    By:    J. Devitt Kramer
                                               Its:   Secretary


By:     Mark A. McEachen
Its:    President and Chief Executive
Officer



                                          72
      Case 20-50627-CTG          Doc 91-5    Filed 02/15/22     Page 75 of 85




                        ACCEPTANCE BY DEFENDANTS

EDUCATION MANAGEMENT                         THE ART INSTITUTES
CORPORATION                                  INTERNA Tl ON AL II LLC



By:     Mark A. McEachen                     By:    Timothy P. Moscato
Its:    President and Chief Executive        Its:   Chief Operating Officer
Officer
                                             SOUTH UNIVERSITY, LLC
EDUCATION MANAGEMENT
HOLDINGS LLC

                                             By:    John T. South, III
                                             Its:   President
By:     Mark A. McEachen
Its:    President and Chief Executive        BROWN MACKIE EDUCATION II LLC
Officer

EDUCATION MANAGEMENT
HOLDINGS II LLC                              By:
                                             Its:
                                                    fbaf£1
                                                    President

                                             ARGOSY UNIVERSITY OF
By:     Mark A. McEachen                     CALIFORNIA LLC
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT LLC                     By:    Cynthia G. Baum
                                             Its:   President

                                             ARGOSY UNIVERSITY OF FLORIDA,
By:     Mark A. McEachen                     INC.
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT II LLC                  By:    J. Devitt Kramer
                                             Its:   Secretary


By:     Mark A. McEachen
Its:    President and Chief Executive
Officer




                                        72
       Case 20-50627-CTG        Doc 91-5    Filed 02/15/22      Page 76 of 85




                        ACCEPTANCE BY DEFENDANTS

EDUCATION MANAGEMENT                            THE ART INSTITUTES
CORPORATION                                     INTERNATIONAL II LLC



By:     Mark A. McEachen                        By:    Timothy P. Moscato
Its:    President and Chief Executive           Its:   Chief Operating Officer
Officer
                                                SOUTH UNIVERSITY, LLC
EDUCATION MANAGEMENT
HOLDINGS LLC

                                                By:    John T. South, III
                                                Its:   President
By:     Mark A. McEachen
Its:    President and Chief Executive           BROWN MACKIE EDUCATION II LLC
Officer

EDUCATION MANAGEMENT
HOLDINGS II LLC                                 By:    Danny D. Finuf
                                                Its:   President

                                                ARGOSY UNIVERSITY OF
By:     Mark A. McEachen                        CALIFORNIA LLC
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT LLC


                                                ARGOSY UNIVERSITY OF FLORIDA,
By:     Mark A. McEachen                        INC.
Its:    President and Chief Executive
Officer

EDUCATION MANAGEMENT II LLC                     By:    J. Devitt Kramer
                                                Its:   Secretary


By:     Mark A. McEachen
Its:    President and Chief Executive
Officer




                                           72
       Case 20-50627-CTG   Doc 91-5        Filed 02/15/22     Page 77 of 85




ARGOSY EDUCATION GROUP, INC.               ART INSTITUTE OF ORLANDO, INC.
{D/B/A ARGOSY UNIVERSITY,
TAMPA)
                                             JS -~  ~

B'{;/ J. Devitt Kramer
Its:  Secretary                            THE ART INSTITUTE OF TAMPA, INC.

THE UNIVERSITY OF SARASOTA,
INC.



Byr     J. Devitt Kramer                   AIT RESTAURANT, INC.
Its:    Secretary

THE ART INSTITUTE OF
PITTSBURGH LLC
                                           Its:   Secretary

                                           MIAMI INTERNATIONAL
                                           UNIVERSITY OF ART & DESIGN, INC.


THE ART INSTITUTE OF FORT
LAUDERDALE. INC.


                                           SOUTH UNIVERSITY OF FLORIDA.
B       J. Devitt Kramer                   INC. {D/B/A SOUTH UNIVERSITY,
Its:    Secretary                          ORLANDO; SOUTH UNIVERSITY.
                                           TAMPA; AND SOUTH UNIVERSITY,
THE ART INSTITUTE OF                       WEST PALM BEACH)
JACKSONVILLE, INC.


                                           ~ J. Devitt Kramer
                                           Its: Secretary
Its:    Secretary




                                      73
       Case 20-50627-CTG   Doc 91-5        Filed 02/15/22     Page 78 of 85




BROWN MACKIE COLLEGE - MIAMI,              COUNSEL FOR DEFENDANTS
INC.

                                           QJ2o~
                                           By: Carol DiBattiste
                                           EVP, Chief Legal, Privacy, Security and
Its:    Secretary                          Administrative Officer
                                           Education Management Corporation
BROWN MACKIE COLLEGE- MIAMI
NORTH LLC

                                           B~Devitt Kramer
                                           SVP, General Counsel and Secretary
                                           Education Management Corporation
Its:    Secretary


                                           By: Meyer G. Koplow
                                           Counsel for Education Management
                                           Corporation
                                           Wachtell, Lipton, Rosen & Katz




                                      74
       Case 20-50627-CTG   Doc 91-5        Filed 02/15/22    Page 79 of 85




BROWN MACKIE COLLEGE       MIAMI,          COUNSEL FOR DEFENDANTS
INC.


                                           By: Carol DiBattiste
By:    J. Devitt Kramer                    EVP, Chief Legal, Privacy, Security and
Its:   Secretary                           Administrative Officer
                                           Education Management Corporation
BROWN MACKIE COLLEGE- MIAMI
NORTHLLC

                                           By: J. Devitt Kramer
                                           SVP, General Counsel and Secretary
By:    J. Devitt Kramer                    Education Management Corporation
Its:   Secretary


                                           By: Meyer G. Koplow
                                           Counsel for Education Management
                                           Corporation
                                           Wachtell, Lipton, Rosen & Katz




                                      74
Case 20-50627-CTG        Doc 91-5      Filed 02/15/22     Page 80 of 85




       ACCEPTANCE BY ATTORNEY GENERAL'S OFFICE

 The Office of the Attorney General approves the entry of this Consent Judgment.

 Signed this _ _ _ day of November, 2015                  /       ~



                               ~=>
                              Mark S. Hamilton
                              Special Counsel
                              Office of the Attorney General
                              107 W. Gaines Street
                              Tallahassee, FL 32399
                              (850) 414-3300 (Telephone)
                              (850) 488-4483 (Fax)
                              Fla. Bar No.: 0063819
                              email: Mark.Hamilton@myfloridalegal.com




                                     75
          Case 20-50627-CTG       Doc 91-5         Filed 02/15/22   Page 81 of 85
•



          DONE AND ORDERED in Chambers in Tallahassee, Leon County, Florida this

      /lt~ayof       rVvvLm,~                 ,2015.




    cc:   Mark S. Hamilton, Special Counsel
          Charles D. Cording, Esq.




                                              76
                   Case 20-50627-CTG                 Doc 91-5          Filed 02/15/22           Page 82 of 85




                                                 Exhjbjt A - lmplementatjon Schedule




                                                                            180 days from the Effective Date, except:

                                                                               •   the deadline for including the Median Earnings for
                                                                                   Completers on the Single-Page Disclosure Sheet
                                                                                   pursuant to if 56(f) shall be ninety (90) days after the
mi 56-58
                                    Single-Page Disclosure Sheet1                  US Department of Education provides the final
(and all other references)
                                                                                   relevant data;

                                                                               •   the deadline for including a Job Placement Rate on
                                                                                   the Single-Page Disclosure Sheet pursuant to~ 56(g)
                                                                                   shall be March l, 2017.


                                                                           IfEDMC determines to use the platform that is developed
                                                                           by the Consumer Financial Protection Bureau, then EDMC
                                                                           shall implement that Electronic Financial Impact Platform
                                                                           within 180 days of the date of such determination.

mi 71-73                            Electronic Financial Impact Platform   IfEDMC determines not to use the platform that is
                                                                           developed by the Consumer Financial Protection Bureau,
                                                                           then EDMC shall have one year to develop, have approved
                                                                           by the Administrator in consultation with the Attorneys
                                                                           General, and implement its own Electronic Financial Impact
                                                                           Platform, running from the date of such determination.




1
    All capitalized terms used in this Exhibit A shall have the meaning given to them in the Consent Judgment
                    Case 20-50627-CTG         Doc 91-5            Filed 02/15/22        Page 83 of 85




                             Prohibitions relating to graduate
~~   84-87, 89-90            eligibility for employment and/or       180 days from the Effective Date
                             required licensure

                                                                     Phased in with full functionality 18 months from the
~~   95-98                   Call recording and voice analytics
                                                                     Effective Date

                             Telephone Consumer Protection Act
                                                                     90 days from the Effective Date
                             and related matters

~   103                      Mandatory orientation                   180 days from the Effective Date


") 104                       Refunds for newly enrolled students     180 days from the Effective Date

                             Internal policy regarding obligation
") 105                       to pay tuition and fees when student    180 days from the Effective Date
                             does not attend 60% of the term

~~   107-114                 Third-Party Lead Vendor compliance      90 days from the Effective Date




                                                             -2-
                  Case 20-50627-CTG             Doc 91-5        Filed 02/15/22           Page 84 of 85

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                                         Exhibit B- Single-Page Disclosure Sheets

    Argosy University
    Forensic Psychology (Online) Associates Degree

                           Facts you should know about this program




        4 YEARS            Time to complete if you continuously attend on a full-time basis


        $59,475            Total tuition, fees and book costs




        Course credits are not guaranteed to transfer to other schools



    Success of Students who Enroll



        20% complete the program
                                                                             •• ••••••••
                                                                             2 complete      8 do not complete


        40% default on their federal student loans
                                                                             •••••• ••••
                                                                             6 are not in default        4 are in default


     Outcomes for Students who Complete



         Job Placements for students in this field are not calculated by Argosy University

        $37,446        Median earnings for graduates


        $43,714        Median student loan debt for graduates



                Please read carefully the Frequently Asked Questions to further understand these facts

              See www.argosy.edu/programs-info for program duration, tuition, fees and other costs, median debt,
                                         salary data, and other important information.
                    Case 20-50627-CTG               Doc 91-5      Filed 02/15/22        Page 85 of 85
..

     Art Institute
     Graphic Design (Online) Associates Degree

                             Facts you should know about this program




         4 YEARS            Time to complete if you continuously attend on a full-time basis


         $59,475            Total tuition, fees and book costs




         Course credits will likely not transfer to other schools

         Degrees will likely not be honored by other schools

      Success of Students who Enroll



         20% complete the program
                                                                               •• ••••••••
                                                                               2 complete      8 do not complete


         40% default on their federal student loans
                                                                               •••••• ••••
                                                                               6 are not in default         4 are in default


      Outcomes for Students who Complete



          60% are able to get a job in this field
                                                                               •••••• ••••
                                                                               6 get jobs                    4 do not get jobs

          $37,446        Median earnings for graduates


          $43, 714       Median student loan debt for graduates


                  Please read carefully the Frequently Asked Questions to further understand these facts

             See www.artinstitutes.edu/programs-info for program duration, tuition, fees and other costs, median debt,
                                   salary data, alumni success, and other important information.
